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1                          UNITED STATES DISTRICT COURT
                                     District of Arizona
2

3
     FEDERAL TRADE COMMISSION,                   No. CV-18-02221-PHX-SPL
4
                        Plaintiff,
5
                                                 PRELIMINARY INJUNCTION WITK
     V.
6                                                ASSET FREEZE,APPOINTMENT
     KITE MEDIA GROUP,LLC, also d/b/a            OF A RECEIVER, AND OTHER
7
     Premium Grants and PremiumGrants.com;       EQUITABLE RELIEF AS TO
8                                                DEFENDANTS SHAWN STUMBO,
     PREMIUM BUSINESS SOLUTIONS,                 JEREMY SILVERS,PREMIUM
9
     LLC, also d/b/a Premium Services,           BUSINESS SOLUTIONS,AND
10   Premium Grants, and                         PREMIUM DOMAIN SERVICES
     PremiumGrants.com;
11

     PREMIUM DOMAIN SERVICES,LLC,
12
     also d/b/a/ Premium Services, Premium
13   Grants and PremiumGrants.com;

14
     2 UNIQUE,LLC, also d/b/a Unique
15   Services, Unique Grants,
     UniqueGrants.com and Grant Support;
16
     AMAZING APP, LLC;
17

18   MICHAEL FORD HILLIARD, also d/b/a
     Michael Ford; individually and as an
19
     owner and manager of Amazing App, and
20   as a defacto manager and a beneficial
     owner of Kite Media Group, Premium                                  o
                                                                         r-               e=3       cr
21   Business Solutions, Premium Domain                                   m
                                                                                          ca        in
                                                                         zo
                                                                       cr>ZK
     Services, and 2 Unique;                                           0|                 d
22                                                                                        cr>
                                                                                           i
23   MICHAEL DE ROSA; individually and                                     c/.>
                                                                                          CO
                                                                                                ci'om
     as a defacto manager of Hite Media                                                         •r
24                                                                                              :rr2o
     Group, Premium Business Solutions,
     Premium Domain Services, and 2 Unique;
                                                                           szi \
                                                                           ^ •        *
                                                                                          s••
                                                                                                <o
                                                                                                •   cr
25                                                                         •      1       PO
                                                                                                    ro
                                                                                  1                 —)
                                                                                  1

26   SELAWN STUMBO; individually and as
     an agent, owner, and manager ofPremium
27
     Domain Services;
28
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1

2
     TIFFANY HOFFMAN;individually and
     as a member, officer, agent, and owner of
3    2 Unique; and
4
     JEREMY SILVERS; individually and as
5    an owner and manager ofPremium
     Business Solutions
6

7
                          Defendants,
8
           Plaintiff, the Federal Trade Commission ("FTC"),on July 16, 2018,filed its
9

10   Complaint for Permanent Injunction and Other Equitable Relief pursuant to Section 13(b)
11
     ofthe Federal Trade Commission Act("FTC Act"), 15 U.S.C. § 53(b)(Docket No. 11),
12
     and moved, pursuant to Fed. R. Civ. P. 65(b), for a temporary restraining order, asset
13
     freeze, other equitable relief, and an order to show cause why a preliminary injunction
14

15   should not issue against Michael Ford Hilliard, Michael De Rosa, Shawn Stumbo,

16   Tiffany Hoffman, Jeremy Silvers, Hite Media Group, LLC,Premium Business Solutions
17
     LLC,Premium Domain Services, LLC,2 Unique, LLC,and Amazing App,LLC. The
18
     Court issued a temporary restraining order on July 17, 2018.(Docket No. 14).
19

20          Now the Court issues a Preliminary Injunction against Defendants Shawn

21   Stumbo,Premium Domain Services, Jeremy Silvers, and Premium Business
22
     Solutions.
23
                                     FINDINGS OF FACT
24

25         The Court, having considered the Complaint, the exparte Motion for
26
     Temporary Restraining Order, declarations, exhibits, and the memorandum of points
27
     and authorities filed in support thereof, and being otherwise advised, finds that:
28
                                                 2
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1
            A.     This Court has jurisdiction over the subject matter ofthis case, and there is
2

3    good cause to believe that it will have jurisdiction over the Defendants hereto and that
4
     venue in this district is proper.
5
            B.     In numerous instances, the Non-Stipulating Defendants represent that
6
     consumers who purchase and use Defendants' services are likely to receive government,
7

8    corporate, or private grants worth thousands of dollars, which consumers can use for
9    personal expenses.
                                r


10
            C.     Contrary to the Non-Stipulating Defendants' representations, consumers
11
     who pay Defendants' fees and use Defendants' services are unlikely to obtain thousands
12

13   of dollars in grants for personal expenses.

14          D.     The Non-Stipulating Defendants lack a reasonable basis to represent to
15
     consumer that they are eligible for, and with Defendants' assistance will likely receive,
16
     thousands of dollars in grants from government, corporate or private grants for personal
17

18   expenses.

19          E.      There is good cause to believe that Defendants Shawn Stumbo,Premium
20
     Domain Services, Jeremy Silvers, and Premium Business Solutions have engaged in and
21
     are likely to engage in acts or practices that violate Section 5(a) ofthe FTC Act, 15
22

23   U.S.C.§ 45(a), and the Telemarketing Sales Rule("TSR"), 16 C.F.R. Part 310 and that

24   Plaintiff is therefore likely to prevail on the merits ofthis action. As demonstrated by the
25
     consumer declarations, transcripts of calls, consumer complaints and additional
26
     documentation filed by the FTC,the FTC has established a likelihood of success in
27

28
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1    showing that:(1)Defendants have falsely represented that consumers who purchase and
2
     use Defendants' services are likely to receive government, corporate, or private grants
3
     worth thousands of dollars, which the consumers can use for personal expenses, and (2)
4

5
     Defendants lack a reasonable basis for their claim that consumers who purchase and use

6    Defendants' services are likely to receive government, corporate, or private grants worth
7
     thousands of dollars, which the consumers can use for personal expenses.
8
           F.      There is good cause to believe that immediate and irreparable harm will
9

10
     result from the Non-Stipulating Defendants' ongoing violations ofthe FTC Act and the

11   TSR unless Defendants are restrained and enjoined by order ofthis Court.
12
            G.     There is good cause to believe that immediate and irreparable damage to
13
     the Court's ability to grant effective final relief for consumers-including monetary
14

15
     restitution, rescission, disgorgement or refunds- will occur from the sale, transfer,

16   destruction or other disposition or concealment by the Non-Stipulating Defendants of
17
     their Assets or records, unless the Non-Stipulating Defendants are immediately restrained
18
     and enjoined by order of this Court.
19

20
            H.     Good cause exists for appointing a Receiver over the Receivership Entities,

21   freezing the Non-Stipulating Defendants' Assets, permitting the Plaintiff and the
22
     Receiver access to the Defendants' business premises, and permitting the Plaintiff and the
23
     Receiver to take expedited discovery.
24

            I.     Weighing the equities and considering Plaintiffs likelihood of success on
25

26   the merits, a preliminary injunction with an Asset freeze, the appointment of a Receiver,
27

28
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1    access to business premises, expedited discovery, and other equitable relief are in the
2
     public interest.
3
            J.     This Court has authority to issue this Order pursuant to Section 13(b) ofthe
4

5
     FTC Act, 15 U.S.C. § 53(b); Federal Rule of Civil Procedure 65; and the All Writs Act,

6    28 U.S.C. § 1651.
7
            K.     The FTC is an independent agency ofthe United States and no security is
8
     required of any agency ofthe United States for issuance ofa temporary restraining order.
9

10
     Fed. R. Civ. P. 65(c).

11                                        DEFINITIONS

12
            For the purpose ofthis Order, the following definitions shall apply:
13
           A.      "ACH Debit" means any completed or attempted debit to a Person's
14

15
     iccount at a financial institution that is processed electronically through the Automated

16   Hearing House Network.
17
            B.     "Acquirer" means a business organization, financial institution, or an
18
     agent of a business organization or financial institution that has authority from an
19

20   organization that operates or licenses a credit card system (e.g. VISA,MasterCard,

21   American Express, and Discover)to authorize Merchants to accept, transmit, or process
22
     payment by credit card through the credit card system for money, goods or services, or
23
     anything else of value.
24

25         C.      "Asset" means any legal or equitable interest in, right to, or claim to, any

26   real, personal, or intellectual property of any Corporate Defendant or Individual
27
     Defendant, or held for the benefit of any Corporate Defendant or Individual Defendant,
28
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1    wherever located, including, but not limited to, chattel, goods, instruments, equipment,
2
     fixtures, general intangibles, effects, leaseholds, contracts, mail or other deliveries, shares
3
     of stock, securities, inventory, checks, notes, accounts, credits, receivables(as those
4

5
     terms are defined in the Uniform Commercial Code), cash, trusts, including, but not

6    limited to, any trust held for the benefit of any ofthe Defendants, and reserve funds or
7
     any other accounts associated with payments processed by,or on behalf of, any of the
8
     Defendants, including, but not limited to, reserve funds held by Payment Processors or
9

     financial institutions.
10

11          D.     "Corporate Defendants" means Kite Media Group,LLC,2 Unique, LLC,
12
     Amazing App,LLC,Premium Business Solutions, LLC,Premium Domain Services,
13
     LLC,and each of their subsidiaries, affiliates, successors, and assigns.
14

15
            E.     "Defendants" means the Corporate Defendants and Individual Defendants,

16   individually, collectively, or in any combination.
17
            F.     "Document" is synonymous in meaning and equal in scope to the usage of
18
     "document" and "electronically stored information" in Federal Rule of Civil Procedure
19

20
     34(a), Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs, charts, photographs,

21   sound and video recordings, images, Internet sites, web pages, websites, electronic
22
     correspondence, including e-mail and instant messages, contracts, accounting data,
23
     advertisements, FTP Logs, Server Access Logs, books, written or printed records,
24

25
     handwritten notes, telephone logs, telephone scripts, receipt books, ledgers, personal and

26   business canceled checks and check registers, bank statements, appointment books,
27
     computer records, customer or sales databases and any other electronically stored
28
                                                   6
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1    information, including Documents located on remote servers or cloud computing
2
     systems, and other data or data compilations from which information can be obtained
3
     directly or, if necessary, after translation into a reasonably usable form. A draft or non-
4

5
     identical copy is a separate document within the meaning ofthe term.

6           G.      "Electronic Data Host" means any Person or entity in the business of
7
     storing, hosting, or otherwise maintaining electronically stored information. This
8
     includes, but is not limited to, any entity hosting a website or server, and any entity
9

10
     providing "cloud based" electronic storage.

11          H.      "Financial Entities" means banks, savings and loans. Payment Processors
12
     Independent Sales Organizations, PayPal, and another other Person involved with
13
     opening or maintaining merchant accounts, or Payment Processing.
14

15
            I.      "Grant Product or Service" means any product or service that is

16   represented, directly or by implication, to assist a Person in any manner in obtaining a
17
     grant or similar financial assistance from a government agency or any other source.
18
            J.      "Independent Sales Organization" or "ISO" means any Person or entity
19

20
     that(a)enters into an ISO agreement or contract with a Payment Processor, Acquirer or

21   financial institution to sell or market Payment Processing services to a Merchant;(b)
22
     matches, arranges for, or refers Merchants to a Payment Processor or Acquirer for
23
     Payment Processing services, or that matches, arranges for, or refers a Payment Processor
24

     or Acquirer to Merchants for Payment Processing services; or(c)is registered as an ISO
25

26   or merchant service provider("MSP")with VISA, MasterCard, or any credit card
27
     association.
28
                                                   7
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1           K.     "Individual Defendants" means, Michael Ford Hilliard, Michael De Rosa
2
     Tiffany Hoffman, Shawn Stumbo, and Jeremy Silvers, individually, collectively, or in
3
     any combination.
4

5
            L.     "Merchant" means any Person or entity engaged in the sale or marketing

6    of any goods or services or a charitable contribution, including any Person who applies
7
     for ISO or Payment Processing services.
8
            M.     "Merchant Account" means an account used to submit credit card or debit
9

10
     card transactions or process credit card or debit card transactions.

11          N.     "Non-Stipulating Defendants" means Shawn Stumbo,Premium Domain
12
     Services, Jeremy Silvers, and Premium Business Solutions.
13
            O.     "Payment Processing" means transmitting sales transaction data on behalf
14

15
     of a Merchant or providing a Person, directly or indirectly, with the means used to charge

16   or debit accounts through the use of any payment method or mechanism, including, but
17
     not limited to, credit cards, debit cards, prepaid cards, stored value cards, ACH Debits,
18
     and Remotely Created Payment Orders. Whether accomplished through the use of
19

20
     software or otherwise. Payment Processing includes, among other things:(a)reviewing

21   and approving Merchant applications for payment processing services; (b)transmitting
22
     sales transaction data or providing the means to transmit sales transaction data from
23
     Merchants to acquiring banks. Payment Processors, JSCs, or other financial institutions;
24

25
     (c)clearing, settling, or distributing proceeds of sales transactions from acquiring banks

26   or financial institutions to Merchants; or(d)processing Chargebacks or returned
27
     Remotely Created Payment Orders or ACH Transactions.
28
                                                  8
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1          P.     "Payment Processor" means any Person providing Payment Processing
2
     services in connection with another Person's sale of goods or services, or in connection
3
     with any charitable donation.
4

5
           Q.     "Person" means a natural person, organization, or other legal entity,

6    including a corporation, limited liability company, partnership, proprietorship,
7
     association, cooperative, government or governmental subdivision or agency, or any
8
     other group or combination acting as an entity.
9

10          R.     "Receiver" means the temporary receiver appointed in Section XI of this

11   Order and any deputy receivers that shall be named by the temporary receiver.
12
            S.     "Receivership Entities" means Corporate Defendants as well as any other
13
     entity that has conducted any business related to the marketing, advertising, offering, or
14

15   the provision of grant services including receipt of Assets derived from any activity that

16   is the subject ofthe Complaint in this matter, and that the Receiver determines is
17
     controlled or owned by any Defendant.
18
            T.     "Remotely Created Payment Order" means a payment instruction or
19

20   order, whether created in electronic or paper format, drawn on a payor's financial accoum

21   that is initiated or created by the payee, and which is deposited into or cleared through the
22
     check clearing system. For purposes ofthis definition, an account includes any financial
23
     account or credit or other arrangement that allows checks, payment instructions, or orders
24

25
     to be drawn against it that are payable by, through, or at a bank.

26          U.     "Telemarketing" means any plan, program, or campaign which is
27
     conducted to induce the purchase of goods or services by use of one or more telephones
28
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1    whether or not covered by the Telemarketing Sales Rule. This definition includes
2
     outbound calls and inbound calls.
3
              V.      "Telemarketing Sales Rule" or "TSR" means 16 C.F.R. § 310, a copy of
4

     which is attached as Attachment A.
5

6                                             ORDER

7
      I.          BAN ON ADVERTISING,MARKETING PROMOTING OR OFFERING
8                       FOR SALE OF GRANT PRODUCTS OR SERVICES

9             IT IS THEREFORE ORDERED that Non-Stipulating Defendants, Non-
10
     Stipulating Defendants' officers, agents, employees, and attorneys, and all other Persons
11
     in active concert or participation with them, who receive actual notice of this Order by
12

13
     personal service or otherwise, whether acting directly or indirectly, are prohibited from

14   advertising, marketing, promoting, or offering for sale any Grant Product or Service.
15
                                 11.   BAN ON TELEMARKETING

16
              IT IS THEREFORE ORDERED that Non-Stipulating Defendants, Non-
17
     Stipulating Defendants' officers, agents, employees, and attorneys, and all other Persons
18

19   in active concert or participation with them, who receive actual notice of this Order by

20   personal service or otherwise, whether acting directly or indirectly, are prohibited from
21
     Telemarketing.
22

23         III.     PROHIBITED UNSUBSTANTIATED CLAIMS REGARDING GOODS OR
                                             SERVICES
24

25
              IT IS FURTHER ORDERED that Non-Stipulating Defendants, Non-Stipulating

26   Defendants' officers, agents, employees, and attorneys, and all other Persons in active
27
     concert or participation with any ofthem, who receive actual notice of this Order,
28
                                                 10
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1    whether acting directly or indirectly, are hereby preliminarily restrained and enjoined
2
     from making, or assisting others in making, expressly or by implication, any
3
     representation about goods or services, unless the representation is non-misleading and, at
4

5
     the time of making such representation, they possess and rely upon competent and reliable

6    evidence to substantiate that the representation is true.

7                      IV.    PROHIBITION ON VIOLATION OF THE TSR

8           IT IS FURTHER ORDERED that Non-Stipulating Defendants, Non-Stipulating
9
     Defendants' officers, agents, employees, and attorneys, and all other Persons in active
10
     concert or participation with any ofthem, who receive actual notice ofthis Order,
11

12   whether acting directly or indirectly, are hereby preliminarily restrained and enjoined

13   from violating the TSR,including but not limited to, violating 16 C.F.R. § 310.3(a)(4) by
14
     making a false or misleading statement to induce any Person to pay for goods or services
15
     or to induce a charitable contribution, and by engaging in credit card laundering, 16
16

17   C.F.R. §310.3(c).

18     V.     PROHIBITION ON MAKING FALSE OR MISLEADING STATEMENTS TO
                               FINANCIAL ENTITIES
19

20
            IT IS FURTHER ORDERED that Non-Stipulating Defendants, Non-

21   Stipulating Defendants' officers, agents, employees, and attorneys, and all other Persons
22
     in active concert or participation with any ofthem, who receive actual notice ofthis
23
     Order, whether acting directly or indirectly, are hereby preliminarily restrained and
24

25
     enjoined from making false or misleading statements to Financial Entities, including but

26   not limited to the following:
27

28
                                                    11
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1           A.     Making false or misleading statements to obtain or maintain a Merchant
2
     Account or obtain Payment Processing services;
3
           B.      Engaging in any practice that would have the effect of circumventing any
4

5
     chargeback monitoring program or other risk management program implemented by a

6    credit card association or company;
7
            C.     Making false or misleading statements about(1)the control or affiliation
8
     between any Person or entity seeking to procure services and any other Person and entity,
9

10
     or(2)the nature, terms, conditions, and disclosures associated with the advertising,

11   marketing, promoting, offering for sale or sale of any product or service offered;
12
            D.     Failing to disclose to any Financial Entity the following information and
13
     documents: (1)the identity ofthe owner, manager, director, or officer ofthe applicant
14

15
     for the merchant account;(2)any material connection between the owner, manager,

16   director, or officer ofthe applicant for or holder of a Merchant Account and any third
17
     party who has been placed in a merchant account monitoring program, has a Merchant
18
     Account terminated by a Financial Entity, or has been fined or otherwise disciplined in
19

20
     connection with a merchant account; and(3) all advertising, marketing materials and

21   scripts relating to any offered product or service.
22
             VI.    PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

23
            IT IS FURTHER ORDERED that Non-Stipulating Defendants, Non-Stipulating
24
     Defendants' officers, agents, employees, and attorneys, and all other Persons in active
25

26   concert or participation with any ofthem, who receive actual notice of this Order,

27

28
                                                  12
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1    whether acting directly or indirectly, are hereby preliminarily restrained and enjoined
2
     from:
3
             A.    Selling, renting, leasing, transferring, or otherwise disclosing, the name,
4

5
     address, birth date, telephone number,email address, credit card number, bank account

6    number. Social Security number, or other financial or identifying information ofany
7
     Person that any Defendant obtained in connection with any activity that pertains to
8
     Defendants marketing of grant services; and
9

10
             B.    Benefitting from or using the name, address, birth date, telephone number,

11   email address, credit card number, bank account number. Social Security number, or
12
     other financial or identifying information of any Person that any Defendant obtained in
13
     connection with any activity that pertains to Defendants marketing of grant services.
14

15
             Provided, however,that Defendants may disclose such identifying information to s

16   law enforcement agency,to their attorneys as required for their defense, as required by
17
     any law, regulation, or court order, or in any filings, pleadings or discovery in this action
18
     in the manner required by the Federal Rules of Civil Procedure and by any protective
19
     order in the case.
20

21                                     VIL    ASSET FREEZE

22           IT IS FURTHER ORDERED that Non-Stipulating Defendants and their officers
23
     agents, employees, and attorneys, and all other Persons in active concert or participation
24
     with any ofthem, who receive actual notice ofthis Order, whether acting directly or
25

26
     indirectly, are hereby preliminarily restrained and enjoined from:

27

28
                                                  13
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1           A.     Transferring, liquidating, converting, encumbering, pledging, loaning,
2
     selling, concealing, dissipating, disbursing, assigning, relinquishing, spending,
3
     withdrawing, granting a lien or security interest or other interest in, or otherwise
4

5
     disposing of any Assets that are:

6                  1.     owned or controlled, directly or indirectly, by any Defendant;
7
                   2.     held, in part or in whole,for the benefit of any Defendant;
8
                   3.     in the actual or constructive possession of any Defendant; or
9

10
                   4.     owned or controlled by, in the actual or constructive possession of,

11                        or otherwise held for the benefit of, any corporation, partnership.
12
                          Asset protection trust, or other entity that is directly or indirectly
13
                          owned, managed or controlled by any Defendant.
14

15
            B.     Opening or causing to be opened any safe deposit boxes, commercial mail

16   boxes, or storage facilities titled in the name of any Defendant or subject to access by any
17
     Defendant, except as necessary to comply with written requests from the Receiver acting
18
     pursuant to its authority under this Order;
19

20
            C.     Incurring charges or cash advances on any credit, debit, or ATM card

21   issued in the name, individually or jointly, of any Corporate Defendant or any
22
     corporation, partnership, or other entity directly or indirectly owned, managed, or
23
     controlled by any Defendant or of which any Defendant is an officer, director, member,
24

25
     or manager. This includes any corporate bankcard or corporate credit card account for

26   which any Defendant is, or was on the date that this Order was signed, an authorized
27
     signor; or
28
                                                   14
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1             D.     Cashing any checks or depositing any money orders or cash received from
2
     consumers, clients, or customers ofany Defendant.
3
              The Assets affected by this Section shall include: (1) all Assets of Defendants as
4

5
     ofthe time this Order is entered; and(2) Assets obtained by Defendants after this Order is

6    entered ifthose Assets are derived from any activity that is the subject of the Complaint
7
     in this matter or that is prohibited by this Order. This Section does not prohibit any
8
     transfers to the Receiver or repatriation offoreign Assets specifically required by this
9

     order.
10

11              vm. DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

12            IT IS FURTHER ORDERED that any financial or brokerage institution,
13
     Electronic Data Host, credit card processor. Payment Processor, merchant bank,
14
     acquiring bank, independent sales organization, third party processor, payment gateway,
15

16   insurance company, business entity, or Person who receives actual notice ofthis Order

17   (by service or otherwise) that:
18
              (a)has held, controlled, or maintained custody, through an account or otherwise,
19
     of any Document on behalfof any Defendant or any Asset that has been owned or
20

21   controlled, directly or indirectly, by any Defendant; held, in part or in whole,for the

22   benefit of any Defendant; in the actual or constructive possession of any Defendant; or
23
     owned or controlled by, in the actual or constructive possession of, or otherwise held for
24
     the benefit of, any corporation, partnership. Asset protection trust, or other entity that is
25

26
     directly or indirectly owned, managed or controlled by any Defendant;

27

28
                                                   15
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1             (b)has held, controlled, or maintained custody, through an account or otherwise,
2
     of any Document or Asset associated with credits, debits, or charges made on behalf of
3
     any Defendant, including reserve funds held by Payment Processors, credit card
4

5
     processors, merchant banks, acquiring banks, independent sales organizations, third party

6    processors, payment gateways, insurance companies, or other entities; or
7
              (c)has extended credit to any Defendant, including through a credit card account,
8
     shall:
9

10
              A.     Hold, preserve, and retain within its control and prohibit the withdrawal,

11   removal, alteration, assignment, transfer, pledge, encumbrance, disbursement,
12
     dissipation, relinquishment, conversion, sale, or other disposal of any such Document or
13
     Asset, as well as all Documents or other property related to such Assets, except by furthei
14

15
     order ofthis Court; provided, however,that this provision does not prohibit an Individual

16   Defendant from incurring charges on a personal credit card established prior to entry of
17
     this Order, up to the pre-existing credit limit;
18
              B.     Deny any Person, except the Receiver, access to any safe deposit box,
19

20
     commercial mail box, or storage facility that is titled in the name of any Defendant, either

21   individually or jointly, or otherwise subject to access by any Defendant;
22
              C.     Provide Plaintiffs counsel and the Receiver, within three(3)days of
23
     receiving a copy of this Order, a sworn statement setting forth, for each Asset or account
24

     covered by this Section:
25

26                   1.     The identification number of each such account or Asset;

27

28
                                                   16
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1                  2.     The balance of each such account, or a description ofthe nature and
2
                          value of each such Asset as of the close of business on the day on
3
                          which this Order is served, and, if the account or other Asset has
4

5
                          been closed or removed, the date closed or removed, the total funds

6                         removed in order to close the account, and the name of the Person or
7
                          entity to whom such account or other Asset was remitted; and
8
                   3.     The identification of any safe deposit box, commercial mail box, or
9

10
                          storage facility that is either titled in the name, individually or

11                        jointly, of any Defendant, or is otherwise subject to access by any
12
                          Defendant; and
13
            Upon the request ofPlaintiffs counsel or the Receiver, promptly provide
14

15
           Plaintiffs counsel and the Receiver with copies of all records or other Documents

16          pertaining to any account covered by this Section or Asset, including originals or
17
            copies of account applications, account statements, signature cards, checks, drafts,
18
            deposit tickets, transfers to and from the accounts, including wire transfers and
19

20
            wire transfer instructions, all other debit and credit instruments or slips, currency

21         transaction reports, 1099 forms, and all logs and records pertaining to safe deposit
22
            boxes, commercial mail boxes, and storage facilities.
23
            D.     Provided, however,that this Section does not prohibit any transfers to the
24

25
     Receiver or repatriation offoreign Assets specifically required by this order.

26

27

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                                                   17
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1                                IX.   FINANCIAL DISCLOSURES

2           IT IS FURTHER ORDERED that each Non-Stipulating Defendant, within five
3
     (5)days of service of this Order upon them, unless they have already done so pursuant to
4
     the Temporary Restraining Order, shall prepare and deliver to Plaintiffs counsel and the
5

6    Receiver:

7           A.     Completed and signed financial statements on the forms attached to this
8
     Order as Attachment B (Financial Statement ofIndividual Defendant)for each
9
     Individual Defendant, and Attachment C(Financial Statement of Corporate Defendant)
10

11   for each Corporate Defendant; and

12          B.     Completed and signed Attachment D(IRS Form 4506, Request for Copy
13
     of a Tax Return)for each Individual and Corporate Defendant.
14

15                          X.     FOREIGN ASSET REPATRIATION

16
            IT IS FURTHER ORDERED that within five(5)days following the service of
17
     this Order, unless they have already done so pursuant to the Temporary Restraining
18

19
     Order, each Non-Stipulating Defendant shall:

20          A.     Provide Plaintiffs counsel and the Receiver with a full accounting, verified
21
     under oath and accurate as ofthe date of this Order, of all Assets, Documents, and
22
     accounts outside of the United States which are: (1)titled in the name,individually or
23

     jointly, of any Defendant;(2)held by any Person or entity for the benefit of any
24

25   Defendant or for the benefit of, any corporation, partnership. Asset protection trust, or
26

27

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1    other entity that is directly or indirectly owned, managed or controlled by any Defendant;
2
     or(3) under the direct or indirect control, whether jointly or singly, of any Defendant;
3
            B.     Take all steps necessary to provide Plaintiffs counsel and Receiver access
4

5
     to all Documents and records that may be held by third parties located outside ofthe

6    territorial United States of America, including signing the Consent to Release of
7
     Financial Records appended to this Order as Attachment E;
8
            C.     Transfer to the territory ofthe United States and all Documents and Assets
9

10
     located in foreign countries which are:(1)titled in the name, individually or jointly, of

11   any Defendant;(2) held by any Person or entity for the benefit of any Defendant or for
12
     the benefit of, any corporation, partnership, Asset protection trust, or other entity that is
13
     directly or indirectly owned, managed or controlled by any Defendant; or(3)under the
14

15
     direct or indirect control, whether jointly or singly, ofany Defendant; and

16          D.      The same business day as any repatriation,(1)notify the Receiver and
17
     counsel for Plaintiff ofthe name and location ofthe financial institution or other entity
18
     that is the recipient of such Documents or Assets; and(2)serve this Order on any such
19

     financial institution or other entity.
20

21                    XI.     NON-INTERFERENCE WITH REPATRIATION

22                 IT IS FURTHER ORDERED that Non-Stipulating Defendants, Non-
23
     Stipulating Defendants' officers, agents, employees, and attorneys, and all other Persons
24
     in active concert or participation with any ofthem, who receive actual notice ofthis
25

26
     Order, whether acting directly or indirectly, are hereby preliminarily restrained and

27   enjoined from taking any action, directly or indirectly, which may result in the
28
                                                   19
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1    encumbrance or dissipation offoreign Assets, or in the hindrance ofthe repatriation
2
     required by this Order, including, but not limited to:
3
             A.    Sending any communication or engaging in any other act, directly or
4

5
     indirectly, that results in a determination by a foreign trustee or other entity that a

6    "duress" event has occurred under the terms ofa foreign trust agreement until such time
7
     that all Defendants' Assets have been fully repatriated pursuant to this Order; or
8
             B.    Notifying any trustee, protector or other agent of any foreign trust or other
9

10
     related entities ofeither the existence ofthis Order, or of the fact that repatriation is

11   required pursuant to a court order, until such time that all Defendants' Assets have been
12
     fully repatriated pursuant to this Order.
13
                               XII.   CONSUMER CREDIT REPORTS
14
             IT IS FURTHER ORDERED that Plaintiff may obtain credit reports concerning
15

16   any Non-Stipulating Defendants pursuant to Section 604(a)(1) ofthe Fair Credit

17   Reporting Act, 15 U.S.C. 1681b(a)(l), and that, upon written request, any credit reporting
18
     agency from which such reports are requested shall provide them to Plaintiff.
19
                               XIII. PRESERVATION OF RECORDS
20
             IT IS FURTHER ORDERED that Non-Stipulating Defendants, Non-Stipulating
21

22   Defendants' officers, agents, employees, and attorneys, and all other Persons in active

23   concert or participation with any ofthem, who receive actual notice ofthis Order,
24
     whether acting directly or indirectly, are hereby preliminarily restrained and enjoined
25
     from:
26

27

28
                                                   20
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1           A.     Destroying, erasing, falsifying, writing over, mutilating, concealing,
2
     altering, transferring, or otherwise disposing of, in any manner, directly or indirectly.
3
     Documents that relate to: (1)the business, business practices. Assets, or business or
4

5
     personal finances of any Defendant;(2)the business practices or finances of entities

6    directly or indirectly under the control of any Defendant; or(3)the business practices or
7
     fmances of entities directly or indirectly under common control with any other
8
     Defendant; and
9

10
            B.     Failing to create and maintain Documents that, in reasonable detail,

11   accurately, fairly, and completely reflect Defendants' incomes, disbursements,
12
     transactions, and use of Defendants' Assets.
13
                         XIV. REPORT OF NEW BUSINESS ACTIVITY
14
            IT IS FURTHER ORDERED that Non-Stipulating Defendants, Non-Stipulating
15

16   Defendants' officers, agents, employees, and attorneys, and all other Persons in active

17   concert or participation with any ofthem, who receive actual notice ofthis Order,
18
     whether acting directly or indirectly, are hereby preliminarily restrained and enjoined
19
     from creating, operating, or exercising any control over any business entity, whether
20

21   newly formed or previously inactive, including any partnership, limited partnership,joint

22   venture, sole proprietorship, or corporation, without first providing Plaintiffs counsel
23
     and the Receiver with a written statement disclosing: (1)the name ofthe business entity;
24
     (2)the address and telephone number ofthe business entity;(3)the names ofthe business
25

26
     entity's officers, directors, principals, managers, and employees; and(4)a detailed

27   description ofthe business entity's intended activities.
28
                                                  21
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1                                        XV.    RECEIVER

2          IT IS FURTHER ORDERED that Stephen Donell is appointed as Receiver of
3
     the Receivership Entities with full powers of an equity receiver. The Receiver shall be
4
     solely the agent of this Court in acting as Receiver under this Order.
5

6
                        XVI. DUTIES AND AUTHORITY OF RECEIVER


7          IT IS FURTHER ORDERED that the Receiver is directed and authorized to

8
     accomplish the following:
9
            A.     Assume full control of Receivership Entities by removing, as the Receiver
10
     deems necessary or advisable, any director, officer, independent contractor, employee,
11

12   attorney, or agent of any Receivership Entity from control of, management of, or
13   participation in, the affairs ofthe Receivership Entity;
14
            B.     Take exclusive custody, control, and possession of all Assets and
15
     Documents of, or in the possession, custody, or under the control of, any Receivership
16

17   Entity, wherever situated;

18          C.     Conserve, hold, manage, and prevent the loss of all Assets ofthe
19
     Receivership Entities, and perform all acts necessary or advisable to preserve the value of
20
     those Assets. The Receiver shall assume control over the income and profits therefrom
21

22   and all sums of money now or hereafter due or owing to the Receivership Entities. The

23   Receiver shall have full power to sue for, collect, and receive, all Assets ofthe
24
     Receivership Entities and of other Persons or entities whose interests are now under the
25
     direction, possession, custody, or control of, the Receivership Entities. Provided,
26

27   however, that the Receiver shall not attempt to collect any amount from a consumer ifthe

28
                                                  22
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1    Receiver believes the consumer's debt to the Receivership Entities has resulted from the
2
     deceptive acts or practices or other violations oflaw alleged in the Complaint in this
3
     matter, without prior Court approval;
4

5
            D.     Obtain, conserve, hold, manage,and prevent the loss of all Documents of

6    the Receivership Entities, and perform all acts necessary or advisable to preserve such
7
     Documents. The Receiver shall: divert mail; preserve all Documents ofthe Receivership
8
     Entities that are accessible via electronic means(such as online access to financial
9

10
     accounts and access to electronic Documents held onsite or by Electronic Data Hosts, by

11   changing usemames, passwords or other log-in credentials; take possession of all
12
     electronic Documents ofthe Receivership Entities stored onsite or remotely; take
13
     whatever steps necessary to preserve all such Documents; and obtain the assistance ofthe
14

15
     FTC's Digital Forensic Unit for the purpose of obtaining electronic Documents stored

16   onsite or remotely.
17
            E.     Choose, engage, and employ attorneys, accountants, appraisers, and other
18
     independent contractors and technical specialists, as the Receiver deems advisable or
19

20
     necessaiy in the performance of duties and responsibilities under the authority granted by

21   this Order;

22
            F.     Make payments and disbursements from the receivership estate that are
23
     necessary or advisable for carrying out the directions of, or exercising the authority
24

     granted by,this Order, and to incur, or authorize the making of, such agreements as may
25

26   be necessary and advisable in discharging his or her duties as Receiver. The Receiver
27
     shall apply to the Court for prior approval of any payment of any debt or obligation
28
                                                  23
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1    incurred by the Receivership Entities prior to the date of entry of this Order, except
2
     payments that the Receiver deems necessary or advisable to secure Assets ofthe
3
     Receivership Entities, such as rental payments;
4

5
            G.     Take all steps necessary to secure and take exclusive custody of each

6    location from which the Receivership Entities operate their businesses. Such steps may
7
     include, but are not limited to, any ofthe following, as the Receiver deems necessary or
8
     advisable: (1)securing the location by changing the locks and alarm codes and
9

10
     discormecting any internet access or other means of access to the computers, servers,

11   internal networks, or other records maintained at that location; and (2)requiring any
12
     Persons present at the location to leave the premises, to provide the Receiver with proof
13
     of identification, and/or to demonstrate to the satisfaction ofthe Receiver that such
14

15
     Persons are not removing from the premises Documents or Assets ofthe Receivership

16   Entities. Law enforcement personnel, including, but not limited to, police or sheriffs,
17
     may assist the Receiver in implementing these provisions in order to keep the peace and
18
     maintain security. If requested by the Receiver, the United States Marshal will provide
19

20
     appropriate and necessary assistance to the Receiver to implement this Order and is

21   authorized to use any necessary and reasonable force to do so;
22
            H.     Take all steps necessary to prevent the modification, destruction, or erasure
23
     of any web page or website registered to and operated, in whole or in part, by any
24

     Defendants, and to provide access to all such web page or websites to Plaintiffs
25

26   representatives, agents, and assistants, as well as Defendants and their representatives;
27

28
                                                  24
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1           1.     Enter into and cancel contracts and purchase insurance as advisable or
2
     necessary;
3
            J.     Prevent the inequitable distribution of Assets and determine, adjust, and
4

5
     protect the interests ofconsumers who have transacted business with the Receivership

6    Entities;

7
            K.     Make an accounting, as soon as practicable, ofthe Assets and financial
8
     condition ofthe receivership and file the accounting with the Court and deliver copies
9

10
     thereofto all parties;

11          L.     Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or
12
     otherwise become party to any legal action in state, federal or foreign courts or arbitration
13
     proceedings as the Receiver deems necessary and advisable to preserve or recover the
14

15
     Assets ofthe Receivership Entities, or to carry out the Receiver's mandate under this

16   Order, including but not limited to, actions challenging fraudulent or voidable transfers;
17
            M.     Issue subpoenas to obtain Documents and records pertaining to the
18
     Receivership, and conduct discovery in this action on behalf ofthe receivership estate, in
19

20
     addition to obtaining other discovery as set forth in this Order;

21          N.     Open one or more bank accounts at designated depositories for funds ofthe
22
     Receivership Entities. The Receiver shall deposit all funds of the Receivership Entities m
23
     such designated accounts and shall make all payments and disbursements from the
24

     receivership estate from such accounts. The Receiver shall serve copies of monthly
25

26   account statements on all parties;

27

28
                                                  25
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1           O.     Maintain accurate records of all receipts and expenditures incurred as
2
     Receiver;
3
           P.      Allow the Plaintiffs' representatives, agents, and assistants, as well as
4

5
     Defendants' representatives and Defendants themselves, reasonable access to the

6    premises ofthe Receivership Entities, or any other premises where the Receivership
7
     Entities conduct business. The purpose of this access shall be to inspect and copy any
8
     and all books, records. Documents, accounts, and other property owned by, or in the
9

10
     possession of, the Receivership Entities or their agents. The Receiver shall have the

11   discretion to determine the time, manner, and reasonable conditions of such access;
12
            Q.     Allow the Plaintiffs' representatives, agents, and assistants, as well as
13
     Defendants and their representatives reasonable access to all Documents in the
14

15
     possession, custody, or control ofthe Receivership Entities;

16          R.     Cooperate with reasonable requests for information or assistance from any
17
     state or federal civil or criminal law enforcement agency;
18
            S.     Suspend business operations ofthe Receivership Entities if in the judgment
19

20
     ofthe Receiver such operations cannot be continued legally and profitably;

21          T.     If the Receiver identifies a nonparty entity as a Receivership Entity,
22
     promptly notify the entity as well as the parties, and inform the entity that it can
23
     challenge the Receiver's determination by filing a motion with the Court. Provided,
24

25
     however,that the Receiver may delay providing such notice until the Receiver has

26   established control ofthe nonparty entity and its Assets and records, ifthe Receiver
27
     determines that notice to the entity or the parties before the Receiver establishes control
28
                                                  26
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1    over the entity may result in the destruction of records, dissipation of Assets, or any other
2
     obstruction ofthe Receiver's control of the entity;
3
            U.     If in the Receiver's judgment the business operations cannot be continued
4

5
     legally and profitably, take all steps necessary to ensure that any ofthe Receivership

6    Entities' web pages or websites relating to the activities alleged in the Complaint cannot
7
     be accessed by the public, or are modified for consumer education and/or informational
8
     purposes, and take all steps necessary to ensure that any telephone numbers associated
9

10
     with the Receivership Entities cannot be accessed by the public, or are answered solely to

11   provide consumer education or information regarding the status of operations; and
12
            V.     File regular reports with the Court, no later once every three months that
13
     includes the following: (1)the steps taken by the Receiver to implement the terms ofthe
14

15
     Order;(2)the value of all Assets and sum of all liabilities ofthe Receivership Entities;

16   (3)the steps the Receiver has taken to protect receivership Assets, recover receivership
17
     Assets from third parties, and adjust receivership liabilities; and(4)any other matters
18
     which the Receiver believes should be brought to the Court's attention.
19

               XVn. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER
20

21          IT IS FURTHER ORDERED that Non-Stipulating Defendants and any other

22   Person, with possession, custody or control of property of, or records relating to, the
23
     Receivership Entities shall, upon notice of this Order by personal service or otherwise,
24
     fully cooperate with and assist the Receiver in taking and maintaining possession,
25

26
     custody, or control ofthe Assets and Documents ofthe Receivership Entities and

27

28
                                                  27
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1    immediately transfer or deliver to the Receiver possession, custody, and control of, the
2
     following:
3
            A.       All Assets held by or for the benefit ofthe Receivership Entities;
4

5
            B.       All Documents of or pertaining to the Receivership Entities;

6           C.       All computers, electronic devices, mobile devices and machines used to
7
     conduct the business of the Receivership Entities;
8
            D.       All Assets and Documents belonging to other Persons or entities whose
9

10
     interests are under the direction, possession, custody, or control ofthe Receivership

11   Entities; and

12
            E.       All keys, codes, user names and passwords necessary to gain or to secure
13
     access to any Assets or Documents of or pertaining to the Receivership Entities,
14

15
     including access to their business premises, means of communication, accounts,

16   computer systems(onsite and remote). Electronic Data Hosts, or other property.
17
     In the event that any Person or entity fails to deliver or transfer any Asset or Document,
18
     or otherwise fails to comply with any provision of this Section, the Receiver may file an
19

20
     Affidavit of Non-Compliance regarding the failure and a motion seeking compliance or a

21   contempt citation.
22
                       XVIII.PROVISION OF INFORMATION TO RECEIVER

23
           TT IS FURTHER ORDERED that Non-Stipulating Defendants shall
24
     immediately provide to the Receiver:
25

26

27

28
                                                   28
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1           A.    A list of all Assets and accounts ofthe Receivership Entities that are held in
2
     any name other than the name of a Receivership Entity, or by any Person or entity other
3
     than a Receivership Entity;
4

5
           B.      A list of all agents, employees, officers, attorneys, servants and those

6    Persons in active concert and participation with the Receivership Entities, or who have
7
     been associated or done business with the Receivership Entities; and
8
            C.     A description of any Documents covered by attorney-client privilege or
9

10
     attorney work product, including files where such Documents are likely to be located,

11   authors or recipients of such Documents, and search terms likely to identify such
12
     electronic Documents.
13
                         XIX. COOPERATION WITH THE RECEIVER
14
            IT IS FURTHER ORDERED that Non-Stipulating Defendants, Non-Stipulating
15

16   Defendants officers, agents, employees,and attorneys, all other Persons in active concert

17   or participation with any ofthem, and any other Person with possession, custody, or
18
     control of property of or records relating to the Receivership entities who receive actual
19
     notice of this Order shall fully cooperate with and assist the Receiver. This cooperation
20

21
     and assistance shall include, but is not limited to, providing information to the Receiver

22   that the Receiver deems necessary to exercise the authority and discharge the
23
     responsibilities of the Receiver under this Order; providing any keys, codes, user names
24
     and passwords required to access any computers, electronic devices, mobile devices, and
25

26
     machines (onsite or remotely) and any cloud account(including specific method to access

27   account) or electronic file in any medium; advising all Persons who owe money to any
28
                                                  29
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1    Receivership Entity that all debts should be paid directly to the Receiver; and transferring
2
     funds at the Receiver's direction and producing records related to the Assets and sales of
3
     the Receivership Entities.
4

                      XX.    NON-INTERFERENCE WITH THE RECEIVER
5

6           IT IS FURTHER ORDERED that Non-Stipulating Defendants; Non-

7    Stipulating Defendants' officers, agents, employees, attorneys, and all other Persons in
8
     active concert or participation with any ofthem, who receive actual notice of this Order,
9
     and any other Person served with a copy ofthis Order, are hereby restrained and enjoined
10

11   from directly or indirectly:

12          A.     Interfering with the Receiver's efforts to manage, or take custody, control,
13
     or possession of, the Assets or Documents subject to the receivership;
14
            B.     Transacting any ofthe business of the Receivership Entities;
15

16          C.     Transferring, receiving, altering, selling, encumbering, pledging, assigning

17   liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession
18
     or custody of, or in which an interest is held or claimed by,the Receivership Entities; or
19
            D.     Refusing to cooperate with the Receiver or the Receiver's duly authorized
20

21   agents in the exercise oftheir duties or authority under any order ofthis Court.

22                                  XXI. STAY OF ACTIONS

23          IT IS FURTHER ORDERED that, except by leave of this Court, during the
24
     pendency ofthe receivership ordered herein, Non-Stipulating Defendants, Non-
25
     Stipulating Defendants' officers, agents, employees, attorneys, and all other Persons in
26

27   active concert or participation with any ofthem, who receive actual notice of this Order,

28
                                                  30
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1    and their corporations, subsidiaries, divisions, or affiliates, and all investors, creditors,
2
     stockholders, lessors, customers and other Persons seeking to establish or enforce any
3
     claim, right, or interest against or on behalfofDefendants, and all others acting for or on
4

5
     behalf of such Persons, are hereby enjoined from taking action that would interfere with

6    the exclusive jurisdiction ofthis Court over the Assets or Documents ofthe Receivership
7
     Entities, including, but not limited to:
8
            A.     Filing or assisting in the filing ofa petition for relief under the Bankruptcy
9

10
     Code, 11 U.S.C. § 101 e/ seq., or of any similar insolvency proceeding on behalf ofthe

11   Receivership Entities;
12
            B.      Commencing, prosecuting, or continuing a judicial, administrative, or other
13
     action or proceeding against the Receivership Entities, including the issuance or
14

15
     employment of process against the Receivership Entities, except that such actions may be

16   commenced if necessary to toll any applicable statute of limitations;
17
            C.     Filing or enforcing any lien on any Asset ofthe Receivership Entities,
18
     taking or attempting to take possession, custody, or control of any Asset of the
19

20
     Receivership Entities; or attempting to foreclose, forfeit, alter, or terminate any interest in

21   any Asset ofthe Receivership Entities, whether such acts are part of a judicial
22
     proceeding, are acts of self-help, or otherwise; or
23
     Provided, however, that this Order does not stay: (1)the commencement or continuation
24

     of a criminal action or proceeding;(2)the commencement or continuation of an action or
25

26   proceeding by a governmental unit to enforce such governmental unit's police or
27
     regulatory power; or(3)the enforcement ofa judgment, other than a money judgment,
28
                                                    31
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1    obtained in an action or proceeding by a governmental unit to enforce such governmental
2
     unit's police or regulatory power.
3
                             XXII. COMPENSATION OF RECEIVER
4
           IT IS FURTHER ORDERED that the Receiver and all personnel hired by the
5

6    Receiver as herein authorized, including counsel to the Receiver and accountants, are

7    entitled to reasonable compensation for the performance ofduties pursuant to this Order
8
     and for the cost of actual out-of-pocket expenses incurred by them,from the Assets now
9
     held by, in the possession or control of, or which may be received by, the Receivership
10

11   Entities. The Receiver shall file with the Court and serve on the parties periodic requests

12   for the payment ofsuch reasonable compensation, with the first such request filed no
13
     more than sixty(60)days after the date ofentry of this Order. The Receiver shall not
14
     increase the hourly rates used as the bases for such fee applications without prior
15

16   approval ofthe Court.

17                 xxm. ACCESS TO BUSINESS PREMISES AND RECORDS

18         IT IS FURTHER ORDERED that:

19
            A.     In order to allow Plaintiff and the Receiver to preserve Assets and evidence
20
     relevant to this action and to expedite discovery. Plaintiff and the Receiver, and their
21

22   representatives, agents, contractors, and assistants, shall have access to the business

23   premises and storage facilities, owned, controlled, or used by the Receivership Entities.
24
     Such locations include, but are not limited to, Defendants' offices at 14040 N. Cave
25
     Creek, Rd., Suite 205,Phoenix, Arizona, 85022, and any offsite location or commercial
26

27   mailbox used by the Receivership Entities.

28
                                                  32
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1          B.      Plaintiff and the Receiver, and their representatives, agents, contractors, anc
2
     assistants, are authorized to remove Documents from the Receivership Entities' premises
3
     in order that they may be inspected, inventoried, and copied. Plaintiff shall return any
4

5
     removed materials to the Receiver within five(5)business days ofcompleting

6    inventorying and copying, or such time as is agreed upon by Plaintiff and the Receiver;
7
            C.     Plaintiffs access to the Receivership Entities' Documents pursuant to this
8
     Section shall not provide grounds for any Defendant to object to any subsequent request
9

10
     for Documents served by Plaintiff.

11          D.     Plaintiff and the Receiver, and their representatives, agents, contractors, anc
12
     assistants, are authorized to obtain the assistance offederal, state and local law
13
     enforcement officers as they deem necessary to effect service and to implement
14

15
     peacefully the provisions ofthis Order;

16          E.     If any Documents, computers, or electronic storage devices containing
17
     information related to the business practices or finances ofthe Receivership Entities are
18
     at a location other than those listed herein, including personal residence(s) of any
19

20
     Defendant, then, immediately upon receiving notice of this order. Defendants and

21   Receivership Entities shall produce to the Receiver all such Documents, computers, and
22
     electronic storage devices, along with any codes or passwords needed for access. In
23
     order to prevent the destruction ofcomputer data, upon service ofthis Order, any such
24

25
     computers or electronic storage devices shall be powered down in the normal course of

26   the operating system used on such devices and shall not be powered up or used until
27
     produced for copying and inspection; and
28
                                                  33
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1          F.      If any communications or records of any Receivership Entity are stored
2
     with an Electronic Data Host, such Entity shall, immediately upon receiving notice ofthis
3
     order, provide the Receiver with the usemame, passwords, and any other login credential
4

5
     needed to access the communications and records, and shall not attempt to access, or

6    cause a third-party to attempt to access, the communications or records.
7
                      XXIV.DISTRIBUTION OF ORDER BY DEFENDANTS
8
            IT IS FURTHER ORDERED that Non-Stipulating Defendants shall
9
     immediately provide a copy of this Order to each affiliate, telemarketer, marketer, sales
10

11   entity, successor, assign, member, officer, director, employee, agent, independent

12   contractor, client, attorney, spouse, subsidiary, division, and representative of any
13
     Defendant, and shall, within ten(10)days from the date of entry ofthis Order, and
14
     provide Plaintiff and the Receiver with a sworn statement that this provision ofthe Order
15

16   has been satisfied, which statement shall include the names, physical addresses, phone

17   number, and email addresses of each such Person or entity who received a copy ofthe
18
     Order. Furthermore, Non-Stipulating Defendants shall not take any action that would
19
     encourage officers, agents, members, directors, employees, salespersons, independent
20

21
     contractors, attorneys, subsidiaries, affiliates, successors, assigns or,other Persons or

22   entities in active concert or participation with them to disregard this Order or believe that
23
     they are not bound by its provisions.
24
                                  XXV. EXPEDITED DISCOVERY
25
            IT IS FURTHER ORDERED that, within(7)days following the service ofthis
26

27   Order, Non-Stipulating Defendants shall provide to Plaintiffs and the Receiver: (1)the

28
                                                   34
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1    names, email addresses, phone numbers and residential addresses ofconsumers that any
2
     ofthe Defendants have charged for grant services;(2)a list of all consumers who have
3
     received grants as a result ofDefendants' services, including the date, amount and source
4

5
     of grant funds received, and if not already provided, their names, addresses, phone

6    numbers and residential addresses; and (3)any other Document or information that
7
     provides a basis for Defendants' claims that consumers that use Defendants' grant
8
     services are likely to receive grants worth thousands of dollars, which the consumers can
9

10
     use for personal expenses.

11          Furthermore, notwithstanding the provisions ofthe Fed. R. Civ. P. 26(d)and (f)
12
     and 30(a)(2)(A)(iii), and pursuant to Fed. R. Civ. P. 30(a), 34, and 45,Plaintiff and the
13
     Receiver are granted leave, at any time after service of this Order, to conduct limited
14

15
     expedited discovery for the purpose of discovering: (1)the nature, location, status, and

16   extent of Defendants' Assets;(2)the nature, location, and extent ofDefendants' business
17
     transactions and operations;(3)Documents reflecting Defendants' business transactions
18
     and operations;(4)the locations ofDefendants, or(5)compliance with this Order. The
19

20
     limited expedited discoveiy set forth in this Section shall proceed as follows:

21          A.     Plaintiff and the Receiver may take the deposition of parties and non-
22
     parties. Forty-eight(48) hours' notice shall be sufficient notice for such depositions. The
23
     limitations and conditions set forth in Rules 30(a)(2)(B) and 31(a)(2)(B)ofthe Federal
24

     Rules of Civil Procedure regarding subsequent depositions of an individual shall not
25

26   apply to depositions taken pursuant to this Section. Any such deposition taken pursuant
27
     to this Section shall not be counted towards the deposition limit set forth in Rules
28
                                                  35
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1    30(a)(2)(A) and 31(a)(2)(A)and depositions may be taken by telephone or other remote
2
     electronic means;
3
            B.      Plaintiff and the Receiver may serve upon parties requests for production of
4

5
     Documents or inspection that require production or inspection within five(5)days of

6    service, provided, however, that three(3)days of notice shall be deemed sufficient for the
7
     production of any such Documents that are maintained or stored only in an electronic
8
     format.
9

10
            C.      Plaintiff and the Receiver may serve upon parties interrogatories that

11   require response within five(5)days after Plaintiff serves such interrogatories;
12
            D.      The Plaintiff and the Receiver may serve subpoenas upon non-parties that
13
     direct production or inspection within five(5)days of service.
14

15
            E.      Service of discovery upon a party to this action, taken pursuant to this

16   Section, shall be sufficient if made by facsimile, email, or by overnight delivery.
17
            F.      Any expedited discovery taken pursuant to this Section is in addition to,
18
     and is not subject to, the limits on discovery set forth in the Federal Rules of Civil
19

20
     Procedure and the Local Rules of this Court. The expedited discovery permitted by this

21   Section does not require a meeting or conference ofthe parties, pursuant to Rules 26(d)&
22
     (f) of the Federal Rules of Civil Procedure.
23
            G.      The Parties are exempted from making initial disclosures under Fed. R.
24

     Civ. P. 26(a)(1) until further order of this Court.
25

26

27

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                                                    36
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1                                XXVI.SERVICE OF TfflS ORDER

2           IT IS FURTHER ORDERED that copies ofthis Order as well as the Motion for
3
     Temporary Restraining Order and all other pleadings, Documents, and exhibits filed
4
     contemporaneously with that Motion (other than the complaint and summons), may be
5

6    served by any means, including facsimile transmission, electronic mail or other electronic

7    messaging, personal or overnight delivery, U.S. Mail or FedEx, by agents and employees
8
     ofPlaintiff, by any law enforcement agency, or by private process server, upon any Non-
9
     Stipulating Defendant or any Person (including any financial institution) that may have
10

11   possession, custody or control of any Asset or Document of any Defendant, or that may

12   be subject to any provision of this Order pursuant to Rule 65(d)(2)ofthe Federal Rules ol
13
     Civil Procedure. For purposes of this Section, service upon any branch, subsidiary,
14
     affiliate or office of any entity shall effect service upon the entire entity.
15

               XXVn.          CORRESPONDENCE AND SERVICE ON PLAINTIFF
16

17          IT IS FURTHER ORDERED that, for the purpose of this Order, all

18   correspondence and service of pleadings on Plaintiff shall be addressed to:
19
            J. Ronald Brooke, Jr
20          Russell Deitch
            Federal Trade Commission,
21
            600 Pennsylvania Ave., N.W.
22          CC-2850
            Washington,DC 20580.
23

24
            And via email tojbrooke@ftc.gov and rdeitch@ftc.gov.

25

26

27

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                                                    37
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1                               XXVni. RETENTION OF JURISDICTION

2          IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this
3
     matter for all purposes.
4
           Dated this 31st day of July, 2018.
5

6

7
                                                     Honorable Steven P. Logan
                                                     United States District iudge
8

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                    ATTACHMENT A
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     Home                                                  Electronic Code of Federal Regulations
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     Pubithing Olfice.                                     §310.1 Scope of regulstions In this part.
     OownloaSlfie Cc.n*etf«>:'l                                 This part Implements the Telemailieting and Consumer Fraud and Abuse Prevention Act, 1SU S.C. 6101-6108, as
     R     ■•tot., tr XML
                                                           amended.
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                                                           §310.2 Definitions.
     PaiaMi Table olAutnofleesand Rum tor
     bie Cede or Federal Regulationa and We                      (a) Acqt/rrer means a business organization, fmancial institution, or an age.-itol a business organlzaUon or financial
     umted StsaeeCode                                      institution that has authority from an organization that operates or licenses a credit card system to authcrize meitiianis to
     Te«|tX.-                                              accept, transmit, or process payment by credit card through the aedi card system for money, goods or snviees, or anything
                                                           else of value.
     Fino, review, and tubrnd caminenls on
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     end published m the Federal Regniat
     usingRp.' iSilLiisgcv
                                                               (c) Billing inhmalion means any data that enatiles any person to access a customers or donor's account, such as a tredll
     Pwr.f.eiiuivrs-.'iCFSaSi.r. fromthe                   card, checcng. savings, share or smiiaraccounL ubiity bin. mortgage lozn account, or d^ card.
     U.S. QovemnienlOt'iAe Boolr^ore.
                                                               (d) CsUsrklentificalicn service means a service that allows a telephone subscriber lo have the tetephone number, and.
     Find laeuee el Ihe CFR (incUAig issues                where available, name of the calling party transmitted conterr^waneously vnlh the telephone cdl. and dsplayed on a device in
     prior» 1»S) at a loeai Fi.j. ii' .c ifc-^.t.'ry       crccnnecied to Ihe sucscnoeris telephone.
     .r.nir.

                                                                (e) Caranader means a person lo whom a credit card is issued or wno is authorized louse a credleardon behaffof orln
                                                           addition to the person to whom the credit card is Issued.

                                                               (0 Cas/i-locasri money transfer means Ihe electronic (as defined In section 106(2) of the Electronic Signatures in Global
                                                           and National Commerce Act (15 U.S.C. 7006(2]) transferof the value of cash received from one person to another person in a
                                                           different location that is sent by a money transfer provider and received in the form of cash. For purges of this dcfintbon.



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cCFR — Code oTFodctal R«suIelions

                                                 money transfer piovidef means any person or financial institirtion Itiat provides casMo-eash money transfers for a person in the
                                                 normal course of its l»islness, whether or not the person holds an account with such person or financial Institulion. The term
                                                eash-Uxash moneytransfer Inctudes a remittance transfer, as defined in sectian9l9(gX2)of the Electronic Fund Transfer Act
                                                CERA'),15 U.S.C. 1693a,thalls a cash-to-cash transaction; however it does not include any transaction that is;
                                                     (1)An electronic fund transfer as defined in section 903 of the EFTA;
                                                     (2)Covered by Regulation E, 12 CFR 1005.20. pertaining to gift cards; or
                                                     (3)Sutrject to the Truth In Lertding Act, 15 U.S.C..1601 efserf.
                                                     (g) Cash reload mechanism is a device, authorization code, personal iderfiification numtser,or other security measure that
                                                 makes it possible for a person to convert cash into an electrortic(as defined in section 106(2)of the Electronic Signatures in
                                                 Global and Nationat Commerca Act(15 U.S.C. 7006{2))form that can l>e used to add funds to a genorai-use prepaid card, as
                                                 defined in Regulafion E.12 CFR 1005.2,or an accowU wifii a payment intermerfiary. For purposes of this definllian. a cash
                                                 reioad mecttanism is not itself a general-use prepaid debit card or a swipe reload process or stm^ method in which fends are
                                                 added directly onto a persorfs own general-use prepaid card or account with a payment intermerfiary.

                                                     (h)Chaiilatile conliOuaion means any donation or gift of money or any other thing of value.
                                                     (I) Comuussion means the Federal Trade Commission.
                                                     (I) Credit means the right granted by a creditor ter a debtor to defer payment of debt or to incur debt and dafer Its payment.
                                                     (h) Credit card means any card, plate, coupon book, or other credit device existing for the purpose of obtaining money,
                                                 property, latxrr. or services on credit.

                                                     (I) CrerSt card sales draft means any record or evidence of a credit card transaction.

                                                    (m)Creditcard system means any method or procedue used to process credit card transactions invotving credit cards
                                                issued or licensed by the operator of that system.

                                                     (n) Cusfomer means any person who Is or may be required to pay for goods or services olfened through tdemarketing.
                                                     (0)Debt r^iefservice means any program or service represented, directly or by implication, to renegotiate, settle, or in any
                                                 way alter the terms of payment or other terms of the debt between a person and one or more unsecured creditors or debt
                                                 collectofs, including, but not limited to, a reduction in the balance, interest rate, or fees owed by a person to an unsecured
                                                 creditor or debt collector.

                                                     (p)Oonor means any person solicited to make a ctiaritatke contribulioa

                                                     (q)Estalilished ttua'nass relationship means a relalionship between a seller and a consumer based on:

                                                    (1)the consumer's purchase, rental, or lease of the seller's goods or services or a finandat transaction between the
                                                 consumer and seller, within the eighteen(18) months immedtately preceding the date of a tetemartceting call; or

                                                    (2)the consumer's inquiry or application regarding a product or service offered by the seller, within the three(3)months
                                                immediately preceding the data of a telemarfceting call
                                                     (r)Free^o^y conversion means, in an offer or agreement to sell or provide any goods or services, a provision under
                                                 which a customer receives a product or service for free for an initial period and win incur an obligation to pay for Ihe product or
                                                service if he or she does not take affirmative action to cancel ttefore the end of that period.

                                                     (5)Investment opportunity means anything, tangbte or intangible, that is offered,offered for sale, sold, or traded based
                                                 wholly or in part on representations, either express or impfied, about past, present, or future income, profit, or apprecialioa

                                                     (t) Uatertal means likely to affect a person's choice of, or conduct regarding, goods or services or a charitable contribution.

                                                      (u)Merchant means a person who is authorized under a written contract with an acquirer to honor or accept credit cards, or
                                                 to transmit or process for payment credit card payihents,for the purchase of goods or senrtces or a charitable contribution.

                                                     (v) Merchantagreement means a written contract between a merchant and an acquirer to honor or accept credit cards, or
                                                to transmit or process for payment credit card payments,for the purchase of goods or services or a charilsbie contributioa

                                                    (w)Negative option feature means. In an offer or agreement to sell or provide any goods or services, a provision under
                                                which the customer's silence or failure to take an affirmative action to reject goods or services or to cancel tfie agreement is
                                                interpreted by the seOer as acceptance of the offer.

                                                     (X)Oufbouncf telephone can means a telephone call initiated by a lelemarketer to induce the purchase of goods or services
                                                or to solicit a charitable contnbution.

                                                    (y)Person means any individual, group, unincorporated assodation, limited or genera) partnership, corporation, or other
                                                business entity.

                                                    (z)Preacquired account infomallon means any Infonnation that enables a seller or telemarfceter to cause a charge to be
                                                placed against a customer's or donors account without obtaining the account number directly from the customer or donor
                                                dunng the telemarketing transaction pursuant to which the account will be charged.                                     ^

                                                     (aa)Prize means anything offered, or purportedly offered, and given, or purportedly given, to a person by chance For
                                                purposes of this definilion, chartce ensts if a person is guaranteed to receive an item wvS. at the lime of the offer or purported
                                                offer, the telemarkelerrloes not identify the specific item that the person wtil receive.



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eCFR — Code ofFcdatJ Resdnuans


                                                         (bb)Prize piamotion means:

                                                         (1)A sweepstakes or other game of chance;or

                                                         (2)An oral or written express or implied representation that a person has won,has t>een selected to receive, or may lie
                                                    eligible to receive a ptlze or purported prize

                                                         (cc)Remotely cnsefer^payment ordier means any payment instmcticn or order drawn on a person's account ttiat is created
                                                    by the payee or the payee's agent and deposited into or cleared through the check dearing system. The term Includes, without
                                                    Imitation, a'remotely created check,'as deRnsd In Regulation CC,Avslability of Funds and Collection of Checks, 12 CFR
                                                    229.2(ffi), but does not include a payment order cleared through an Automated Clearinghouse(ACH)Network or sutiject to the
                                                    Truth in Lending Act 15 U.S.C. 1601 ef seq., and Regulation Z.12 CFR part 1026.

                                                        (dd) Seller means any person wt»,in connection with a tetemaikeling transaction, provides, offers to provide, or arranges
                                                   (or others to provkie goods or services to the customer In exchange fbr consideratioa

                                                        (ee)Stele means any state of the United Slates, the District of Columbia, Puerto Rico,the Northern Mariana Islands, and
                                                    any temtory or possession of the United States.

                                                         (fO Telemari(eter means any person who.In connection with telemarkaUrtg. Iniiiales or receives telephone calls to or from a
                                                    customer or donor.

                                                         (09) TelematkeUng means a plan, program,or campaign which is conducted to induce the purchase of goods or services or
                                                    a charitable contribution, by use of one or more telephones and which involves more than one interstate telephone call. The
                                                    term does not include the solicitation of sales through Ihe mailing of a catalog which: contains a wntten descnption or illuslration
                                                    of the goods or services offered for sale; Includes the business address of the seller; includes multiple pages of written material
                                                    or illuslrations; and tias t>e«n issued not less frequently than once a year,when the person making the soUdlation does not
                                                    sdicil customers by telephone but only receives calls initiated by customers in response to the catalog and durtng those calls
                                                    takes orders ottly v^outfurther sotiotation. For purposes cf Ihe previous sentence,the term'further solicitalioo* does not
                                                    include providing the custorner with informalton abouL or attempting to seB, any other kem included in the same catalog which
                                                    prompted Ihe customer's call or In a subslantteOy similar catalog.

                                                         (tih) UpseWng means shotting the purchase of goods or services foBowing an inifial transacticn during a single telephone
                                                    cail. The tm^ell is a separate telemarketing transaction, not a continuation of the initial trensactkm. An'external upseir Is a
                                                    soiicitaton made by or on behalf cf a seller rSfferent from the setter in the initial transactian. regardless of whether the initial
                                                    transaction and the siteequent sottcrtaiion are made by the same tetemarkater. An *intem3l upseir is a solicitation made by or
                                                    on betisif of tire same seller as in the initial transaction, regardless of wtiether ttte initial transaction atxl subsequent soiidtatton
                                                    are made by the same telemarketer.

                                                   (75 FR 4BS16, Aug. 10,2010, as ameoded at SO FR 77557, lOee. 14,2015]

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                                                    §310.3 Deceptive telemarketing acts or practices.

                                                       (a)Prohibited <Seceptive te/emarkeling acts orpmcfices It is a deceptive telemarketing act or practice and a violation of this
                                                    Rule for any setter or tetemarketer m engage In the lollawing conduct

                                                        (I)Before a customer consents to pay ^for goods or services offered, taittng to disctose tmthfully, in a dear and
                                                   corrspicuous manner,the Wlowitrg material information'

                                                            When a seler or telemarketer uses,or directs a customer to use,a courier to transport payment Oie setter or telemarketer must
                                                   make the diseiosures required by §310.3(a)(t) before senrfing a courier lo pick up payment or authorization for payirtenL or directing a
                                                   customer to have a courier pick up payment or autliorizalion far paymenL In tho case of detri reliel services,tire setter or lelematkeier
                                                   must make the disclosures required by §3t0.3(a)(t) before the consumer enrolls in an offered program.

                                                        (i) The total costs to piirchase, receive, or use,and tho quantity of, any goods or services that aro the subject of the sales
                                                    offer,*®
                                                          For offers ofconsumer credit products subject to the Truth In Lending Act, 15 US.C. 1601     efseg., and Regulation Z,12 CFR 226,
                                                   compliance willi Ihe disclosure requkemenls under the Truth in Lending Act and Regulation Zshall eonslituto complisnoe with S310.3(a)
                                                   (1)0)of this Rule.

                                                        (II) Alt material nsstrictions. limitations, or conditions to purchase, receive, or use the goods or services that are the subject
                                                   of the sates offer,

                                                       (iii) tf the seller has a policy of not making refunds, cancellations, exchanges, or repurchases, a statement infofmtng the
                                                   customer that this is the setter's policy; or, if Ihe seller or telemaiketer makes a representation about a refund, cancettatlOT,
                                                   exchange,or repurchase policy, a statement of aB material terms and eondilions of stxh pcGcy;

                                                        (iv)In any prize promotloa the odds of being able lo receive the prize, atxl, if the odds are not calculatile in advance,the
                                                   factors used in caicutatHig ttie odds; that no purchase or payment is required to win a prize or to participate in a prize promotion
                                                   and ttiat any purchase or payment will not Increase the person's chances of winning; and the no-purchase/no-payment method
                                                   of participating in the prize promotion with either instructions on how to participate or an address or local or toll-free lelephcoe
                                                   number to wfiich customers may write or call fbr information on how to participate;

                                                        (V) All material costs or conditions to receive or redeem a prize that is ttie subject of the prize pronxition;




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                                                        (vi)In the sste of any goods or services represented to protect,insure, or ottrerwise Imtit a customer's tatiility in Itie event
                                                   of unauthorized use of ttw customer's credit card, the limits on a cardholder's liabitihr (or unauthoilzed use of a credit card
                                                   porsuartt to 15 U.S.C. 1643;

                                                         (vfi) If the offer includes a negative option feature, all material terms and condtions of the negative option feature. Includng.
                                                   but not imited (o, the fact that the customer's account will be charged unless the customer takes si affirmative action to avoid
                                                   ttie chargeis),the d8te(s] the ctiarge(s) will be submitted for payment, and ttie specific steps the customer must take to avoid
                                                   the charge(s); and

                                                        (vni)in the sale of any debt relief service.
                                                       (A)the amount of time necessary to achieve the represented results,and to the extent that the service may include a
                                                   settlement oRer to any of the customers creditors or debt collectors,the tme by which the debt reset service provider wilt make
                                                   a bona fide settlement offer to each of Ihem;

                                                       (B)to <he extent that the service may include a settlement offer to any of the customers creditors or debt collectors, the
                                                   amount of money or the percentage of each outstanding debt that the customer must accumulate before the debt relief servics
                                                   provider will make a bona fide settlement offer to each of Ihem;

                                                      (C)to the extent that any aspect of the debt relief service relies upon or results in the customers failure to make timely
                                                   payments to creditors or debt collectors, Itiat the use of the debt relief sendee will likely adversely affect the customers
                                                   cretfitworthiness, may result hi the customer tieing sutiject to collections or sued by cr^ltors or debt cotiectors, and nay
                                                   increase the amount of money the customer owes due to Uie accrual of fees and interest; arxl

                                                        (D)to the extent that the debt relief service reguesis or requires the customer to place funds in an account at an insured
                                                   financial institutkxi, that the customer owns the funds held in the account,the customer may withdraw from the debt relief
                                                   service at any time wittMut penaity. and, if the customer wittxfraws, the customer must receive an funds in the account, other
                                                   tfian funds earned by the debt relief service in compliance with §310.4{aHfiK<)(A}through(C).
                                                       (2)Misrepresentmg, direclly or by implication, in the sale of goods or services any of the fo&owing matenai informatxxi:
                                                        (i) The total costs to purchase, receive, or use,and the quantity of, any goods or services that are the subject of a sales
                                                   offer

                                                        (ii) Any material restnclica Bmilation, or condition to purctiase. receive, or use goods or services that are the suiqect of a
                                                   sales offer,

                                                        (ill) Any material aspect of the performance,efficacy, nature, or central diaracteristics of goods or services that are the
                                                   subject of a sales offer;

                                                        (Iv)Any material aspect ei the nature or terms of the seller's refund, cancellation, exchange,or repurchase policies;

                                                       (v)Any malenal aspect of a prize promotion Including, but not limited to. the odds of being able to receive a prize, the
                                                   nature or value of a prize, or thai a purchase or payment is required to win a prize or to participate in a prize promotion;

                                                        (vi) Any material aspect of an investment opportunity Including, but not iimited to, risk, liquidity, earnings potential, or
                                                   profitability;

                                                        (vii) A seller's or telemarketei's affiliation with, or endorsement or sponsorship fciy, any person or government entity;

                                                        (vfd)Tliai any customer needs offered goods or services to provide proleclions a customeralready has pursuant to 15
                                                   use. 1643;

                                                        (ix)Any material aspect of a negative option feature including, but not limiled to, the fact ttiat the customer's account will bo
                                                   ctiar^ unless the customer takes an affirmative action to avoid the charge<s},the dale(s)the charge{s)will be submitted for
                                                   payment and the specific steps the customer must take to avoid the chargefs); or

                                                        (x)Any material aspect of any debt relief service,including, but not limited to,(he amount of money or the percentage of
                                                   the debtamount that a customer may save by using such service; the amount cf time necessary to achieve the represented
                                                   results; the enxiunt of money or ttie percentage of each outstanding debt that the customer must accumulale before the
                                                   provider of the debt relief seniico will Inittate attempts with the customer's credilors or debt collectors or make a bona fide offer
                                                   to negotiate, settle, or modify the ternis of the customer's debt; the effect of the service on a customer's credttvrarthiness; the
                                                   effect of(he service on coltecfion efforts of the customer's crerfitors or debt cotiectors; the percentage or number of customers
                                                   who attain the represented resiits; and wtiether a debt relief service is offered or provided by a non-profit entity.

                                                       (3)Causing billing mfimmation to be submilted for payment, or colleciing or attempting to collect payment for goods or
                                                   services or a charitable contrtbutioa directly or indirecUy, without the customer's or donor's express verifiable authorizatioa
                                                  except when the method of payment used Is a credit card sutiject to protections of the Truth in (.encfing Act and Regulation Z, '
                                                  or a debit card subj^ to the protections of the Electronic Fund Transfer Act and Regulation E.                    Such authorization shall be
                                                  deemed verifiable If any of the following means is employed:

                                                           Truth in Lending Act, 15 U.S.C 1601 et soq., and Regulation Z.12 CFR part 228.

                                                           Electronic Fund Transfer Act, 15 U.S.C. 1693 efseg., and Rsgutation E.12 CFR part 205.

                                                       (I) Express written authorization by the customer or donor, which includes the customer's or donor's signature,

                                                           For purposes of this Rule, the term 'signalure' shall ineludo an electronic or digitalfomi of signature,to the extent that such form of
                                                  signature is lecognized as a valid signature under applicable federal law or state contract law.




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                                                       Cii) Express orai authorization which is audio-recorded and made avsllalile upon request to the customer or donor,and the
                                                 customer's or donor's t>ank or other billing enlily. and which evidencas deaity both the customer's or donor's authorization of
                                                 payment for the goods or services or cTiarilabie contribution that are the sutjeel of the tetemarkeling transaction and Itie
                                                 customer's or donoi's receipt of all of the fi^lowing information:
                                                      (A)An accurate descn'ption, dearly and conspicuously stated, of the goods or services or charitable contritiution lor which
                                                  payment authorization Is sought

                                                      (B)The number of debits, charges,or payments ftf more than one);
                                                      (C)The d3te(s} the debit(s). chafge(s). or payment{s) will be submitted tor payment
                                                      (b)The amount(s)of the debit(s). chargefs). or payment(s);
                                                      (E)The customer's or donods name;

                                                      (F)The customer's or donoi's billing information, kienblied with sufficrenl spedfieity such that the customer or donor
                                                  understands what account will be used to cotlect payment for the goods or services or chantable contribution that are the
                                                  subject of the tetemarketing transaction;

                                                      (G)A telephone number for customer or donor Inquiry that is answered during nomiai business hours; and
                                                      (H)The date of the customers er donoi's oral authorization: or

                                                      (tii) VWtten contlrmation of the transactian, identitled in a dear and conspicuous manner as such on the outside of the
                                                  envelope, sent to the cxistomer or donor via first dass mal pnor to the submission for payment of the customers or donors
                                                  bilHng Information, and that indudes ail ol the Information contained in §§3l0.3<a)(3)(aKA)-{G) and a dear and conspicuous
                                                  statement of the procedures by which the customer or donor can obtain a refund from tlw seller or telemarketer or cttantabte
                                                  organization In the event the confirmabon is inaccurate; provided, however. Diet this means of aulhorization shall not be
                                                  deemed veriffabie in instances in wtuch goods or services are offered in a transaction Involving a free-to-pay conversion and
                                                  preacquired account information.
                                                      (4)Making a false or misleading statement to induce any person to pay for goods or services or to induce a charilal>le
                                                  contribution.

                                                      (b)AssisOng and ladlitating. ft is a deceptive telemarketing act or practice and a violation of this Rule for a person to
                                                  provide substantial assistance or support to any seller or telemarketer when that person knows or consciously avoids knowing
                                                  that the seller or telemarketer is engaged in any act or practice that vfolales §§3l0.3{a).(c)or (d). or §310.4 of this Rule.
                                                      (c)Cmdff card laundeiing. Except as expressly permitted by the appiieatke credit card system, It is a deceptive
                                                  tetemarkeb'ng act or pracbce and a violation of this Rtle for

                                                     (I)A mercttant to present to or deposit info, or cause another to present to or deposit into, the oetki card system for
                                                  payment,a credit card sales draft generated by a telemaiketing transacbon that is not the result of a tetemarkebng eredh card
                                                  transaction between the cardholder and the merchant;

                                                      (2)Any person to employ, solicit, or otherwise cause a merchant, or an empioyco, representative, or agent of the merchant,
                                                  to present to or deposit into the credt card system for payment,a credit card sales draft generated by a telemarketing
                                                  transaction that is not the result of a telemarketing credit cam bsnsacb'on between the cardhotder end tfte merchant; or

                                                      (3)Any person to obtain access to the aedit card system Ihiough the use of a business relationship or an afSiabon with a
                                                  merchant, when such access is not autfiorized try the merclianl agreement or the applicable credit card system.

                                                      (d)ProhibUed decepfive acts orpractices in ffie soBcilation of charilatie confribufions. It is a fraudulent charitable
                                                  solicKation, a deceptive telemarketing act or practice, and a vidation of this Rule for any telemarketer soliciting charitable
                                                  contributions to misrepresent,directly or by implication, any of the following material Information;
                                                      (t)The nature, purpose,or mission of any entity on Isehalf of which a charitable contribution is being requested.
                                                      (2)That any charitable contribution is tax deductibte in whde or in part;

                                                      (3)The purpose forwhidi any charitatiie contriDulion will be used;

                                                      (4)The percofllage or amount of any chantable contnbulion that will go to a charitable organization or to any particular
                                                 cfiaritatka program;

                                                      (5)Any material aspect of a prize promotion includng. but net limited to; the odds ot being able to receive a prize; the
                                                  nature or value of a prize; or that a charitatiie contritiution is required to win a prize or to participate in a prize promotion; or

                                                      (6)A charitable organization's or telemarketeifo affiliation with, or endorsement or sponsorship by. any person or
                                                 government entity.

                                                 {75 FR 48516,Aug. tO.2010. as amended at SO FR 7755S.[>!c. 14.2015)

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                                                 §310.4 Abusive telemarketing acts or practices.

                                                      (a)Abusive conduct generally, it is an abusive telemarkeling act or practice and a violation of this Rule for any seller or



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                                                  tetemarfceter to engage in the following conduct:

                                                       {1} Threats, intimidation, or the use of profane or obscene language;

                                                       (2)Requesting or recaving payment of any fee or consideration for goods or senrices represented to remove derogatory
                                                  information from, or improve,a person's credit histoty, credit record,or credit rating until:

                                                       (l)The Bme frame In which ttte seiler has represented all of the goods or services will be provided to that person has
                                                  expifdOl and

                                                       (ii) The seSer has provided the person with documentation in the form of a consumer report ftom a cortsumer reporting
                                                  agency demonstrating that the promised results have been achieved,such report having been issued more than six months
                                                  alter the resuils were achieved. Nothing in this Rule stKMid tie construed to affect the requirement in the Fair Credit Reporting
                                                  Act. 15 U.S.C.1681,that a consumer report may only be obtainad(or a spedtied permissible purpose;

                                                      (3) Requestirrg or receiving payment of any fee Of consideration from a person(orgoods or services represented to recover
                                                  or otnenvise assist in the return of money or any other item of value paid for by,or procrised to. that person in a previous
                                                  transactioa until seven(7)bus&^s days after such money or other item is delivered to tftat peraoa This provision shdi net
                                                   apply to goods or senrices provided to a person l>y a licensed attorney;

                                                       (4)Requesting or receiving payment of any fee or consideration in advance of obtaining a loan or other extension of credit
                                                   when the s^er or tetemailceterlias guaranteed or represented a high likelihood ofsucceM in obtaining or arranging a loan or
                                                   other extension of credit for a person;

                                                       (5J(1) Requesbng or receiving payment of any fee or consideration for any debt relief service until and unless;
                                                       (A)The seller or telemarketerltas renegotiated, settled, reduced, or otherwise altered the terms of at least one debt
                                                   pursuant to a settlement agreement,debt management ptan, or other such valid contractual agreement executed tiy the
                                                   customer;

                                                       (B)The customer tras made at least one payment pursuant to tfiat settlement agreement, debt management plan,or other
                                                   valid contractual agreement between the customer and the creditor or debt coitectci: and
                                                       (C)To the extent that debts enrolled In a service are renegolialad, settled, reduced, or otherwise altered individually, the
                                                  fee or coruideration either

                                                       (1)Bears Die same propordonal relationstvp to the total tee for renegotiating, settling, reducing, or altering the temn of the
                                                   entire debt balarKe as the individual debt amount bears to me entire debt amount Theindvidual debt amount and tho entire
                                                   debt amount are those owed at die time tite debt was enrolied in the service; or

                                                       (2)Is a percentage of me amount saved as a result of the renegotiation, settlement reduction, or alteration. The
                                                   percentage barged cannot change from one IrKfividual debt to another. The amount saved is the diifererrce t>etween me
                                                   amount owed at the time me debtwas enrolled in tfie service and the amount actually paid to satisfy the debt.

                                                       (ii) Nothing in §310.4(aK5)(i) prohibits requesting or requiring the customer to place funds in an account lo be used (or the
                                                   debt relief provider's fees and for payments to creditors or debt collectors in connection with the renegotiation, settlemeni,
                                                   reduction, or other alteration of the terms of payment or omer terms of a debt, provided that:

                                                       (A)The hinds are held in an account at an insured linanciai institution:

                                                       (6)The customer owns thefunds held in the account and is paid accrued intetest on the account, if any,
                                                       (C)The entity administering Bie accoum is not owned or controlled by.or In any way affiliated with, the debt relief service;
                                                       (D)The ontiiy administering the account does not give or accept any money or other compensation in oxcftango for
                                                   referrals of business involving the debt relief service; and

                                                       (E)Trie customer may wittxlraw from me debt relief service at any time without penalty, and must raeeive ail furxis in tho
                                                   account, other than funds earned by the debt relief service in compliance with §3l0.4(a)(5XIXA)through (C). wimin seven (7)
                                                   business days of me cuslomeris request

                                                       (6)Disclosing or receiving, for consideration, unencrypted consumer account numbers for use in telemarketing; provided,
                                                   however, that mis paragraph shall not apply to the disclosure or receipt o( a customer's or donor's billing infOrmalion to process
                                                   a payment for goods or services or a ctiaritabie contribution pursuant to a transaction;

                                                       (7)Causing billing inlomialion to be submitted lor payment, directly or indirectly, without the express informed consent of
                                                   me customer or donor. In any telemarketing transaction, the seller or telemarketer musl obtain the express Inlormed consent of
                                                   me customer or donor to be charged for the goods or services or charitable contribution and to be charged using me tderdified
                                                   account. In any telemarketing transaction involving preacquired account information, the requirements in paragraphs (a)(7)(l)
                                                   mrough (ii) of this section must be met to evidence express informed conseriL
                                                       (I) in any telemarketing transaction involving preacquired account information and a free-toi>ay conversion feature, me
                                                   seiler or telemarkelermust:

                                                       (A)Obtain from me customer,at a minimum, me last four(4)digits of me account number to be charged:

                                                       (B)Obtain from the customer his or her express agreement lo be charged for the goods or services and lo be charged
                                                   using me accourtt numtier pursuant lo paragra^(a)(7)(iXA)of this sectiorr,and.
                                                       (C)Make and maint^n an audio recottfng of the entire telemarketing transaction.




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                                                      (ii)In any other telemarketing transaction involving preacquired aeecvnt information not descritied in paragraph{aMTKO of
                                                 this section, the seller or tatemarketer must;

                                                      (A)At a minimum,identify the account to be charged with sufficient specifldty for the customer or donor to understand wtiat
                                                 account will be charged; and

                                                    (B)Obtain from (he customer or donor his or her express agreement to be charged for the goods or services and to be
                                                 charged using the account nund)er Identified pursuant to paragraph (a)(7)(li)(A} of this section;

                                                      (S)railing to transmit or cause to be transmised the telepfione number, arxf. when made available by the teiemarketer's
                                                 carrier, the name of the tstemarketer, to any caRer identification service In use by a recipient of a telemaiketing call: provided
                                                 that It Shan not be a vioiaiion to substitute (for the name and phone number used in, or billed for. making the cati) the name of
                                                 the seller or charitable organization on behalf of wirich a telemarketing can is placed, and tfie seller's or charitable orgarezation's
                                                 customer or donor service telephone number, which is ariswered during regular business hours;
                                                     (9)Creating or causing to be created, direclty or indirectly, a remotely created payment order as payment for goods or
                                                 services offered or sold through telemarketing or as a charitable conttSxilion soUciled or sought through telemarketing; or

                                                    (10)Accepting from a customer or donor,directly or indirecily, a cash-to-cash money transfer or cash reload mechanism as
                                                 payment for goods or services offered or sold through telemarketing or as a chantabie contribution solicited or sought mrough
                                                 telemarketing.

                                                      (b)PattBm of caffs.(1) It is an abusive lelernarketing act or practice and a violation of this Rule for a telemarketer to engage
                                                 in, or for a seller to cause a telemarketer to engage in, the following cond-jcL-

                                                     (1) Causing any telephone to ring, or engaging any person in telephone conversation, repeatedly or conbnuousiy with intent
                                                 to annoy, abuse,or harass any person at the called number;

                                                      (11) Denying or imerfertng In any way, directly or indirectly, with a person's nghl to be placed on any registry of names
                                                 and/or telephone numbers of persons who do not wish to receive outbound telephone calls established to oom^ with
                                                 paragraph (b)(1)(iiiXA)of this section, including, but not flmiled to, harassing any person who makes such a request; hanging up
                                                 on that person; failing to honor the request; requiring the person to listen to a sales pitch before accepting the request;
                                                 assessing a charge or fee for honoring the request; requiring a person to can a different number to submit the request; and
                                                 requiring the person to identic the seller making the call or on whose behalf the call is made;

                                                      (iii} Inibabng any outbound leleplwne can to a person wherv

                                                      (A)That person previously has stated thai he or she does not wish to receive an outbound telephone call made by or on
                                                 behalf of the seller whose goods or services ere being offered or made on behalf of the charitable organizabon for which a
                                                 charitable contribution is being sotldted; or

                                                    (8)That persorfs tel^thane number is on the'do-not-calT registry, maintained by the Commission,of persons who do not
                                                 wish to receive outbound telephone calls to induce the purchase of goods or services unless the seller or tetenKaketer:

                                                     (f)Can denxrnstrate that the seller has obtained the express egreement,in wribng. of such person to place calls to that
                                                 person. Such written agreement shall clearly evidence such person's authonzation that calls made by or on behalf of a spedlic
                                                 party may be placed to ttiat person,and shall Include the telepfione number to which the calls may be placed and the
                                                 signature®" of that person; or
                                                      *"For purposes of tliis Rule,the leim 'signature'sl»II include sn etectroRic or digilsl form ol signature,to the extent that such form of
                                                 signature is recognized as a valid signature under applicable federal law or state contract taw.

                                                      (2)Can demonstrete tfiet the seller has an established business relatonship with such person, and that person has not
                                                 stated that he or she does not wish to receive outbound telephone calls under paragraph (bXi}(Ki)(A) ol ifiis secbon; or
                                                     (Iv) Abandoning any outbound telephone call. An outbound telephone call is'abandoned* under this secbon If a person
                                                 answers it and the telemarketer does not connect the call to a safes representabve within two(2)seconds of the person's
                                                 completed greebng.

                                                     (v)Inibeting any outbound telephone call that delivers a prerecorded message,other than a prerecorded message
                                                 permitted for compliance with the call abandonment safe harbor in §310.4(b)(4XHi), urrless:
                                                     (A)In any such call to Induce the purchase of any good or service, the seller has obtained from the rectpiem of the call an
                                                 express agreement, in writing, that:

                                                     (i)The seller obtained only alter a dear and conspicuous disdosure that the purpose of the agreement is to authorize the
                                                 seiier to place prerecorded calls to such person;

                                                     00 The seler ol>tatned witftout requiring, directly or indirecby, that the agreement be executed as a condition of purctmsing
                                                 any good or service;

                                                      (ill) EvIderKes the willingness of the recipient of the cell to receive cabs thai deliver prerecorded messages by or on behalf
                                                 of a specific seller, and

                                                      (iv)Includes such person's telephone number arxf signature, ®®® and
                                                         For purposes of Uiis Rule,Itie term *signature* stun include an electronic or dgtol form of signstoro,to the extent mat such foim of
                                                 signature is recognized as a valid signature under appBcable ledaral law or stats contract law.

                                                     (8)In any such ceil to induce the purchase of any good or service, or to induce a charitable coninbulion from a member of.



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                                                     or previous donor to. a non-profit charitable organization on wttose behalf the call is made,the seller or telemartceler
                                                            fi)Altows the telephone to ring foe at least fifteen(15)seconds or(our{<)tings Isefora disconnecting an unanswered call;
                                                     and

                                                         (iQ Within two(2)seconds after the completed greeting of the person c^led, plays a prerecorded message that promptly
                                                     provides the cfiscfosures required t>y §310.4(d)or(e), fotlowed immediately by a disclosure of one or both of the following:
                                                         (A)In the case of a call that could be ansv/ered in person by a consumer, that the person called can use an automated
                                                     interactive voice and/or keypress-activated opt-out mechanism to assert a Do Not Call request pursuant to §3l0.4(b)(lKiii}(A)at
                                                     any tima dunng the message.The mschanism muse

                                                            (1)Automatically add the number called to ftie seller's entity-specific Do Not Can list;
                                                            (2)Once invoked,immediately (fisconnect the caii. and

                                                            (3)Bo available(or use at any time during the message;and

                                                         (B)In the case of a call that could be answered by an answering machine or voicemail service, that the person called can
                                                     usa a toll-free telephone number to assert a Do Not Can request pursuant to §310.4(b}(1)(lii)(A). The number provided must
                                                     connect directly to an automated interacliya voice or keypress-activated opt-out mechanism that
                                                            (1)Automatically adds the numAer called to Ore seller's entity-specific Do Not Call list;
                                                            (2)Immediately thereafter discannects the call; and

                                                            (3)Is accessible at any lime throughout Ure duration of the telemarketing campaign; and

                                                            (iti) Compties with an other requirements of this part and other applicable federal and state lews.

                                                            (C)Any can that complies with alt appliceble reqiirements of this paragraph(v)shan not be deemed to violate §3l0.4(b}(l)
                                                     (Iv)     this part

                                                        (0)TNs paragraph(v)shall not apply to any outbound telephone call that delivers a prerecorded healthcare message
                                                     made by, or on behalf of, a covered entlly or Its business associate, as those terms are defined In tiro KIPAA Privacy Rule,45
                                                     CFR160103.

                                                            (2)It is an abusive telemarketing act or practice and a violation of this Rule for any person to sell, rent, lease, purchase,or
                                                     use any list eslat>lished lo comply with §310 4{bK1}(iri){A}, or maintained by the Commission pursuant to §310.4(b)(1)(iS}(B).(Or
                                                     any purpose except compliance with the ptovistons of this Ride or otherwise to prevent telephone cafis to telephone numbers
                                                     on such lists.

                                                            (3)A seller or teiemailietef win not be liable for violating S310.4(b)(1)(ii) and (iti) if it can demonstrate that, as part of the
                                                     setler's or telemarketer's routine business practice:

                                                            0)It has established and implemented written procedures lo comply with §310.4(b)(1)Oi) end (lil);

                                                            (II) It has trained its personnel, end any entity assisting in its compliance, in the procedures established pursuant to
                                                     §3104(b)(3Mr):

                                                            (iii)The seller, or a tdemarketer or another person acting on behalf of the sellof or charitable organtzalion, lias maintained
                                                     and recorded a list of telephone numbers the seller or diaritable organization may not contact, h compliance with §3i0.4(bK1)
                                                     (iii)(A};

                                                         (iv)The seller or a telematkeier uses a process to prevent telemarketing to any telephone number on any list established
                                                     pursuant to §310.4(b)(3)(iil)or 310.4(b)(1K"i'HB), employing a version of the'do-net-car registry obtained from the Commrssioo
                                                     no more than thirty-one(31)days pnor lo the date any call Is made,and mainlains records documenting this process;

                                                         (v)The s^er or a telemarketer or another person acting on behalf of the seller or charitable organizatiao, monitors and
                                                     enforces compliance with the procedures established pursuant to §310.4(b)(3)(i); and

                                                            (vi)Any subsequent call otherwise violating paragraph {b}(1)(ii) or (iii)of this section is the result of error and not of failure
                                                     lo obtain any information necessary to comply with a request pursuant to paragraph(bXI Hifi)(A) of this section not to receive
                                                     further cads by or on behalf of a seller or charilaisle organization.

                                                            (4)A seBer or tdemaiketer will not be liable(or violating §310.4(b)(1)(lv) if:

                                                         (f)The setter or telemarketer employs technology that ensures abandonment of no mere than ttvee(3)percent of all calls
                                                     answered by a person, measured over the duration of a single calling campaign,if less than 30 days,or separately over each
                                                     successive 30-day perkxf or portion thereof that the campaign continues.

                                                         (ii) The seller or telemarketer, for each telemarketing call placed, allows the telephone to ring for at least fifteen(15)
                                                     seconds or four(4)rings before disconnecting an unanswered call;

                                                          (iii) Whenever a sales representative is not available to speak with the person answenng the caH within two(2)seconds
                                                     after the person's completed greeting, the seller or telemarketer promptly plays a recorded message that states the name and
                                                     telephone number of the seller on whose behalf the can was placed ^and
                                                            ** This prevision does net tlfee]sny seder's or teteiRsrkeler's oliligation lo comply with relevant state and federal laws, inclucling bul
                                                     net Smiled to the TCPA.47 U.S.C.2Z7.and 47 CFR part 64.1200.




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                                                       (iv)The stilef or telemarketer, in accordance with §310.5{bHd),retains records estatslishing compiiance with §310.4{bK4)


                                                       (c)Calling lime festrlctions. Without the prior consent of a person, it is an abusive tetemarireling act or practice and a
                                                   violation of this Rtie for a tefemariteter to engage In outbound telephone calls to a person's residence at any time other than
                                                   between 8:00 ajn. and 9:00 p.m. local Ume at tfte called personTs locadoa

                                                       (d)Regittred oral disclosures In Ute sale oFgoods or services, it is an abusive teiemartreting act or practice and a violation
                                                  of this Rule fdr a teiemarketer in an outbound telephone call or imemai or external upselHo induce the purchase of goods or
                                                  services to fail to disclose truthfully, promptly, and in a dear and conspicuous manner to the person receiving lite call, the
                                                  foUowing informatioa-

                                                       (1)The identity of the seller,

                                                       (2)That lite purpose of the call is to sell goods or services:

                                                       (3)The nature of the goods or services; and

                                                      (4)That no purchase or payment Is necessary to be able to win a prize or participate in a prize promotion if a prize
                                                  promotion is offered and that any purchase or payment will not increase the person's chances ol winning. This disclosure must
                                                  be made before or in coi^unctlon with lha description of the prize to the person called. If requested by that person,the
                                                  telemarheler must disclose the no-purchase/no>payment entry method for Itte prize promotion; provided, however,that, in any
                                                  internal upseil for the sale of goods or services,the seller or Idemarketer must provide the disdosures listed in this section o^
                                                  to itie extent that the infonnation in Itte iqisell differs from the disdosures provided in ttie inilSai lelemarkeiing transaction.

                                                       (e)Reqwred oral disclosures in chanfaofe soBcitations. It is an abusive telemarketing act or practice and a violation of this
                                                  Rula fiv a tdemarketer, in an outbound telephone call to Itxfuce a diaritable contribution, to fail to disclose truthfully, prompUy,
                                                  arxJ in a dear and conspicuous manner to tt» person receiving me call, the fbltawing informaiian:

                                                       (1)The identity of dte dtaritat>le organization on beltalf of wivch die request is bdng made; and

                                                       (2)Thai the purpose of the call is to soddt a charitable contribution.

                                                  [7S FR 41516. Aug. tO, ZOtO,as ameftded at 76 FR 98716,Sept.22,20t1; SO FR 77559, Dec. 14.2015|

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                                                  §310.5 Rcconlkeeplng requlromonts,

                                                       (a)Any seller or tdemarketer shall keep, tor a period of 24 months from the date the record is produced, the following
                                                  records reladng to its telemarketing activities;

                                                       (1)Alt substantially diSerent advertising, broctiures, telemarkeling scripts, and promotionat materials;

                                                      (2)The name and last known address of each prize recipient and the prize awarded for pnzes that are represented, ditedly
                                                  or by impiication, to have a value of $25.00 or more;

                                                      (3)The name and last knovm address of each customer, the goods or services purchased,the date such goods or services
                                                  were shipped or provided, and the amount paid by the customer for the goods or senrlces; **'
                                                         Far otfsrs of conturnercreiM products sui^eet to the Truth in Lending Act, tSU.S.C. 1601    etsag., end Regulation Z,12 CFR 226,
                                                  compience with the recerdkeeptng requirements under the Truth in Lendittg Act. and Regulalton Z.shall constitute compfance w3h
                                                  S310.5(a){3)ol this Rule.

                                                      (4)Ihe name, any fictitious name used, the last known home address and telephone number,and the job titie<s)for all
                                                  current and fonner employees directly involved in teteptione sales or soiidtations; provided, tiowevef, thai if the seller or
                                                  teiemarketer permits fictitious names to be used by ernployees, each ScStious name must tie traceable to only cme specific
                                                  employee:and

                                                      (5)All verifiable authorizations or records of express infonned consent or express agreemeni required to be provided or
                                                  received under this Rule.

                                                      (b)A seller or teiemarketer may keep the records required t^ §310.S(a)in any form, and in Ihe same maraier, format, or
                                                  place as they keep such records in the ordinary course of business. Failure to keep an records required by §310.5{a} shall be a
                                                  violation of this Rde.

                                                      (c)The seller and the teiemarketer calling on behalf of me seller may. by written agreement. aHoeete responsibility between
                                                  themselves for the recordkeeping required by this Section. Wtien a seller and teiemarketer tiave entered into such an
                                                  agreement,the terms of that agreement shall govern, and the seller or teiemarketer. as Ihe case may be,need not keep
                                                  records that duplicale tlxsse of the other. If Ihe agreement Is unclear as to who must maintain any required recordfs). or if no
                                                  such agreement exists,the seller shall be responsible for complying with §§3l0.5(a){1H3)^(3)1            tetemarkeler shall be
                                                  responsible for complying with §3iO.S(aK4).

                                                      (d)In the event of any rfssolution or termination of the sellers or telemarketeTs business, Ehe principal of that seller or
                                                  teiemarketer shall maintain all records as reriuired under this section. In the event of any sale, assignment, or other cliange in
                                                  ownersnip of the sellers or telemaikelers business, Ihe successor business shall maintain all reeonts required under this
                                                  section.




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                                                   $310.6 Exemptions.

                                                        (a)Solicitations to induce charitable contritxiSons via outbound telephone calls aro not covered \>t §31(Xd(b]{1)(iil(B)of
                                                   this Rule

                                                       (b)The foUowing acts or practices are exempt from this Rule:

                                                      (1)The sale of pay-peroB services sutjject to the Commission's Rtie entitted "Trade Regulation Rule Pursuant to the
                                                   Telephone Disclosure and Dispute Resolutian Act of 1992," 16 CFR part 308. pmvided. however,that this exemption does not
                                                   apply to the reriuiremenls of §§3ia4(a){1),(a)(7).(b), and (c),

                                                       (2)The sale of franchises sutiiect to ttie Commission's Rule entitled "Disclosure Re<)ulrements and Prohiixtions Concerning
                                                   Franchising."("Franchise Rule")16 CFR part 436. and the sale of business opportuiibes subject to the Ccmnsssiott's Rule
                                                   entitled "Oisdosure Reguirements and Prohibitions Concerning Business Op^rtunities,*("Business Opportumly Rule")16 CFR
                                                   part 437. pmvkJea, however,that this oxempfion does not apply to the roquirements of §$310.4(aX1).(a)(7).(b). and (c);
                                                       (3)Telephone cans in which the sale of goods or services or charitable sdidtalion is not completed,and payment or
                                                   aulhmaticn of payment is not required, until after a lace-to-face sales or donation presentation by the seller or chieritabia
                                                   organization, provkled. fnwever. that this exemption does not aj^y to the requirements of §§310.4{a}<1).(a)(7).(b). and (c);
                                                       (4)Telephone caBs inittated by a customer or donor that are not the result of any solicitation t>y a seller, charitable
                                                   organizatioa or telemarketsr. pmvfded. however, that this exemption does not apply to any Irutances of upseiling included in
                                                   such teleptwne caBs:

                                                        (5)Telephone calls initiated by a customer or donor in response to an advertisement through any medium,other than direct
                                                   mail solicitation, prewdeef. however,that this exemption does not apply to:

                                                       (I) CaBs Iniliated by a customer or donor In response to an advertlserrient relating to investment opportunlBes, debt relief
                                                   services, business opportunities other than business arrangements covered by the Franchise Rule or Business Opportunity
                                                   Rule,or advertisemenls involving offers for goods or services described in §310.3(a)(1)(vi)or §310 4(a)(2)through (4).
                                                        (ii) The requiremenls of §310.4(3X9)or(10): or

                                                        (Hi)Any instances of upseiling included In such telephone calls;

                                                        (6)Telephone calls initiated by a customer of donor In response to a direct mail solicitation, including solicitations via the
                                                   U.S. Postal Service, fecsimile transmission, electronic mail, and other similar methods of detivery In whicn a solidtaticn Is
                                                   directed to specific address(e5)or person(s). that deariy, conspicuously, and trulhfutly discloses aN material information listed in
                                                   §310.3(a){1), lor any goods or services oRe^ in the direct mail soIldtaBon, and that contains no material misrepresentation
                                                   regaming any item contained In §3l0.3(d) ter any requested charitable contritxiticn; provicfed, Irowever. ttiat this exemption
                                                   does not appjy to:
                                                        (i) CaBs initiated by a customer in response to a drect mail sdidtation relating to prize promotions,investment
                                                   opportunlta'es. debt reTtef services, business opportunities other than business arrangements covered by the Franchise Rule or
                                                   Business Opportunity Rule,or goods or services described in §310.3(aX1)(vi)or §310.4(aX2)through (4);

                                                        (Ii) The requiremsnts of §310.4(a)(9)or(10); or

                                                        (iii) Any instances Of upsetting induded in such telephone cdls; and
                                                       (7)Telephone calls between a telemarlteter and any business to induce the purchase of goods or services or a charitable
                                                   contribution by the business, except caBs to induce the retail sale oi nortdurabie office or deaning suppfies; provided, however,
                                                   drat §§310.4(0X1XiBXB)and 310.5 shaB not apply to seBers or tetemaiketers of nondurable office or deaning supplies.
                                                  {75 FR 48S1S. Aug, 10.2010.as amendod at 80 FR 77559, Dec. 14.2015]

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                                                   §310.7 Actions by states and private persons.

                                                       (a)Any attorney general or other offieer of a state authorized try the state to bring an acfaon under the Teiemarlceting arvl
                                                   Consumer Fraud and Abuse Prevention Act, and ar^ private person who brings an action under that Act, shall serve written
                                                   notice of its adion on the Commission, if feasible, prior to its initiating an action under this Rule. The notice shall be sent to the
                                                   Office of the Director, Bureau of Consumer Protection. Federal Trade Commission, Wasnington, DC 20SS0, and shaB Indude a
                                                   copy ol the stele's or private person's complaint and any other pleadngs to be fifed with the court if prior notice is not feasible,
                                                   the stale or private person shall serve the Commission with the required notice Immediately upon instituting its action.

                                                       (b)Mottling contained in this Section shall prohibit any attorney general or other authorized state oflidat from proceeding in
                                                   stato court on the basis of an aOegcd violalion of any dvil or criminal statute of such stale.

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                                                   §310.6 Foo for access to the National Do Not Call Registry.

                                                         (a)It is a violation of this Ride for any seller to initiate, or cause any tetemarketer to initiate, an outbound telepfione call to
                                                   any person vrtxtsa telepliono nutnlter is wittiin a given area coda unless such setter,either directly or through another person,
                                                   first has paid the annual fee, required by §310.B(c),for access to tetephone numbers within that area code ttiat are tncitxled in
                                                   the Natiortal Do Not Cait Registry maintained by the Commission under §310 4(b)(1){ili)(B): provided, however, that such
                                                    payment is not necessary if the seller initiates, or causes a teiemartreter to initiate, calls solely to persons pursuant to
                                                   §§310.4(b}{1){iti)(8)(i)or(H), and the seller does not access the National Do Not CaH Registry lor any other purpose.
                                                        (b)It is a vloiation of this Rule for any teiemarketsr, on behalf of any seller, to Iniliate an outbound tetephone call to any
                                                   persorr whose tetephone number is within a given area code unless that seller, either directly or through another person,first
                                                   has paid the annual fee, required by §310 8(c}. for access to the tetephone numbers within that area code that ate irtctuded in
                                                   the National Do Not CaH Registry; provided, however, that such payment is not necessary if the seller initiates, or causes a
                                                    teiemarlmter to initiate, calls solely to persons pursuant to §§310.4(b)(l)pil)(B)(i) or (II), and the seller does not access the
                                                    National Do Not Can Registry for any other purpose.

                                                        (c)The annual fee. which must be paid by any person prior to obtaining access to the Nationai Do Not Ca3 Registry, is S62
                                                   for each area code of data accessed, up to a maximum of $17,021; prow'ded, iKwever,that there sitail t)e no charge to any
                                                   person for accessing the Hrst five area codes of data, and pmvided further, that there shall be no charge to any person
                                                   engaging in or causing ethers to engage in outbound teleptione calls to consumers and who is accessing area co^s of data in
                                                   the National Do Not Call Registry if the persori is pemnitted to access, but is not required to access,the Nationai Do Not Call
                                                   Registry under this Rute,.47CFR 64.1200, or any other Federal regulation orlaw. No person may participate in any
                                                    arrangement to share the cost of accessing the National Do Not CaH Registry, including any arrangement with any lelemarketer
                                                    or service provider to rtvide the costs to access the registry among various clients of that lelemarketer or service provider.

                                                       (d)Each person who pays, either directly or through arwther person, die annual fee set forth in paragraph(c)of this
                                                   section, each person excepted under paragraph(c)from paying the annual fee, and each person exmpted liPm paying an
                                                   annual fee under §310 4(bH1)(iliXB}, will be provided a unique account number that wili allow that person to access the registry
                                                   data for the selected area codes at any time for the twelve monlft period beginning on the first day of the month in which the
                                                   person paid the fee ftiie annual period*). To obtain access to additional area codes of data during the first six months of the
                                                   annual period, each person required to pay the fee under paragraph(c)of ttvs section must first pay $62for each additional
                                                   area code of data not initially selected. To obtain access to additional area codes of data during the second six months of the
                                                   annual period, each person required to pay the fee under paragraph(c)of this section must first pay $31 for each additional
                                                   area coda of data net Initially selected. The payment of the additional lee win permit the person to access the additional area
                                                   codes of data for the remainder of the annual period.



                                                        (e)Access to the National Do Not CaH Registry is limited to telemarketers, sellers, others engaged in or causing ethers to
                                                   engage in tetephone calls to consumers,service providers acting on behalf of such persons,and any govemmenl agency that
                                                   has law enforcement authority. Prior to accessing the National Do Not Call Registry, a person must provide Ihe identifying
                                                   tnfbrmation required by the operator of the re^stry to collect Ihe fee. and must ceriily. under penalty of law,that tfie person is
                                                   accessing the registry solely to comply with the previsions of this Rule or to otherwise prevent telephone calls to telephone
                                                   numbers on the registry. If the person is accessing the registry on behalf of setters, that person also must identify each of the
                                                   setters on whose behalf it is accessing ihe registry, must provide each seller's unique account nunber for access to Ihe national
                                                   registry, and must certify, under penalty of law,that the setters will be using the information gathered from Ihe registiy solely to
                                                   comply with the provisions of this Rule or otherwise to prevent telephone caBs to tetephone numbers on the registry.
                                                   PS FR 46S16. Aug. t0.2010:75 PR 51934,Aug.24.2010,at imended at 77 FR 51697. Aug 27.2012;78 FR 53643. Aug. 30,2013;79
                                                   FR S147B,Aug.29.2014;80 FR 77560, Dee. 14.2016; 81 FR 53845. Aug. 31.2016;82 FR 39534. Aug.2t,2017)

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                                                   §310.9 Sevcrability.

                                                         The provisions of this Rule are separate and severaote from one another, tf any provision is stayed or detemtned to be
                                                    invalid, it is the Commission's intention that the remaining provisions sfiaH continue in effect

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                                                    Need assistance?




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                    ATTACHMENT B
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                                               FEDERAL TRADE COMMISSION

                                  RNANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

Definitions and Instructions:

    1. Complete all items. Enter "None* or "N/A" fNot Applicable') in the first field only of any Item that does not apply
       to you. If you cannot fully answer a question, explain wtry.

    2. "Dependents" include your spouse, live-in companion, dependent children, or any other person, whom you or your
       spouse (or your children's other parent) claimed or could have claimed as a dependent for tax purposes at any
        time during the past five years.

    3. "Assets" and 'Liabilities' include ALL assets and liabilities, located within the United States or any foreign country
        or territory, whether held individually or jointly and whether held by you, your spouse, or your dependents, of held
        by others for the benefit of you. your spouse, or your dependents.

    4. Attach continuation pages as needed. On the finandal statement, state next to the Item number that the Item Is
       being continued. On the continuation page(s). Identify the Item number(s) being continued.

    5. Type or print legibly.

    6. Initial each page in the space provided in the lower nght comer.

    7. Sign and date the completed financial statement on the last page.


Penal^ for False Information:

Federal law provides that any person may be Imprisoned for not more than five years, fined, or both. If such person:

        (1) "in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Govemment of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme, or devise a material fad;
makes any materially false, fictitious or fraudulent statement or representation; or makes or uses any felse writing or
document knowing the same to contain any materially false, fictitious Or fraudulent statement or entry"(18 U.S.C. § 1001);

          (2) 'in any...statement under penalty of perjury as permitted under sedion 1746 of title 28, United States Code,
wiilfuliy subscribes as true any material matter which he does not believe to be true"(18 U.S.C. § 1621); or

       (3) 'in any(... statement under penalty of perjury as permitted under section 1746 of title 28. United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other information ... knowing the same to contain any false material
declaration'(18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (1) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than Uie defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. §3571.




                                                                     Federal Trade Commission Financial Statement of Individual Defendant
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Item 1. Information About You                                _      .                                                                            ;
                                                                             j.

Full Name                                                                    Social Security No.

Current Address of Primary Residence                                         Driver's License No.                                                State Issued


                                                                             Phone Numbers                    Date of Birth:          1  /
                                                                             Home;(       )                                       (mm/dd/yvw)
                                                                                                              Place of Birfli
                                                                             Fax: (       )                                   c


DRent t^Own                  From (Date);   / /                              E-Mail Address
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Internet Home Page


Previous:AddlB8808 for past five yeare (tfr^utfcd; use addltkm^'pagds alend offerrtr):                                                                 -r -
Address                                                                                               From:       /       t             UnB:           /          /
                                                                                                           (mm/ddfyyyy)                         (mm/ddfyyyy)

                                                                                                      □Rent
Address                                                                                               From:       /    /               Until:      /       /



                                                                                                      □Rent □own
Address                                                                                               From;       /    /                Unta:      /          /



                                                                                                      □Rent |~10wn
Identic any other name(s) and/or social security numt)er(s) you tave used, and the time period(s) during wtrich they
were used:



Itofn ^ infomiaBbrt Abpiit Your Spouse
Spouse/Companion's Name                                                      Social Security No.                   Date of Birth
                                                                                                                      /           /
                                                                                                                  (mm/dd/yyyy)
Address (if different from yours)                                            Phone Number                          Place of Birth

                                                                             (    )
                                                                             QPent nOwn                   From (Date):               / /
                                                                                                                                  (mm/ddfyyyy)
Identify any other name(s) and/or social security numberfs) you have used, and the time pettodfs) during wtiich they were used;

Employer's Name and Address                                                  Job Title


                                                                             Years in Present Job     Annual Gross Salary/Wages
                                                                                                      $



Itern 3. Infonriation About Your^Prevlous-Spouse                                      :
Name and Address                                                                                      ^dal Security No.

                                                                                                      Date of Birth
                                                                                                         /    /
                                                                                                      (mm/ddfyyyy)

Iteftt '4. Contact Irifoimatioh (name and address of closesl frying relative other than your spouse)
Name and Address                                                                                      Flwie Number
                                                                                                      <       )




                                                                                                                                                       Initials;

                                                                   1 of 10        Federal Trade Commission Financial Statement of IntKvidual Defendant
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Item 5; Information About Dependents (wttether or not ttiey resttte with you)
Name and Address                                                                 Sodai Security No.                    Date of Birth
                                                                                                                            /   /
                                                                                                                      (mm/dd/Vyyy)
                                                                                 Relationship

Name and Address                                                                 Sodal Security No.                    Date of Bkm
                                                                                                                            /   /
                                                                                                                      (mrrklddAwyy)
                                                                                 Relationship


Name and Address                                                                                                          Date of Birth
                                                                                 Social Secun'ty No.
                                                                                                                             /    /
                                                                                                                          (mm/dd/ww)
                                                                                 Relationsh^


Name and Address                                                                                                          Date of Birth
                                                                                 Sodal Security No.
                                                                                                                             1 !
                                                                                                                          (mm/dcKvwv)
                                                                                 Reiaticnship


Itetn 6. Employment information/Employment Income
Provitie:^'foitowing Intefnuitian (or this yesr-to-dste and fbr^eoch ofthe previous five fuOyears,(or each business-entity of which you were a director. -
officer,' m'etihber. partner, eniptoy^ (inching setf-emptoy'ment)'. agenl, owner,"shareholder.-contractor,' particpsnt or consult^ at shy bme during that
period. 'Iitcome^ Includes,-,but is not[imit^ to. any salary, oMnmissions, distributions, draws,consuiting fees, loans, ioari paymehts.jtfividends, .
royalties, shd benefits for which you did riot pay {e g., health itt»iance' premluins. autonobiie (ease or loan pajhitents) received by you or anyone else
onypur.,beh3l(.      .
Company Name and Address                                                             Dates Employed                  Income Received: Y-T-D 4 5 Prior Yrs.

                                                                                                                     Year                  Income
                                                                   From (MorrtWYear)            To (MontWYear)
                                                                             /                         /             20                    S
Ownership Interest? □ Yes □ No                                                                                                             S
PosltioRs i-letd                                                   From (Month/Year)            To (MonthA'ear)                            $
                                                                             /                         /                                   $
                                                                             /                         /                                   $
                                                                             /                         /                                   S
Company Name and Address                                                             Dales Employed                  Income Received: Y-T-D 4 5 Prior Yrs.


                                                                                                                     Year                  Income
                                                                  From (Month/Year)             To (Monlh/Year)
                                                                             /                         /
                                                                                                                     20                    $
Ownership Interest? □ Yes O l*lo                                                                                                           S
Positions Held                                                    From (Month/Year)             To (Month/Year)                            $
                                                                             /                         /                                   s
                                                                             /                         /                                   $
                                                                             /                         /                                   s
Company Name and Address                                                             Dates Employed                  Income Received: Y-T-D 4 5 Prior Yrs.

                                                                                                                     Year                  Income
                                                                  From (Month/Year)             To (Monlh/Year)
                                                                             /                         /
                                                                                                                     20                    S
Ownership Interest? Q Yes O No                                                                                                             $
Positions Held                                                    From (MonlWYear)              To (Month/Year)                            $
                                                                             /                         /                                   $
                                                                             /                         /                                   $
                                                                             /                         /                                   $




                                                                                                                                           Initials;

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ltem;7;;Pendtng Lawsuits Hied By or Against You or Your Spouse,                                                                       .
Ust^ pemSngil^ that have b^IBed by or agasist you oryour spouse m any couh or before an,adminfctratrve ageiicy.in tne United States or in.. :•
any foreigiircouhtiy.df teirttoryJ    ifeftawsurfs Biaf resu/tecf/r» ffinaf^jt^menls orselltemenls tnyour few. AlMen> 21tEstbnstitsihat ,
rmuKedm Snaf iikUtmnkiorseWeirh                                                                  '
                                                                                                 Nature of                                        Status or
      Caption of Proceeding              Court or Agency and Location         Case No.
                                                                                                Proceeding
                                                                                                                       Relief Requested         Disposition




Item 8. Safe Deposit Boxes                                                                                         ,
Ust all safe'd^tesh boxes, hxteted wcthinThe Umted States orin any foreign country or territory,,wtiether.h^ individually or jointly and wtiether held by
ydii, ydiir spouse,'or any of your dependents, or held by oteers for fee benefil of you,your spouse. Or eriy of your de^dentk.
         Name of Owner(s)                       Name & Address of Depository Instltuiion                  Box No.                      Contents




                                                                                                                                          Initials;


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                                           FINANCIAL INFORMATION
REMINDER: When an rtem asks for informaton regarding your "assets" and mcfude ALL assets and fiabillties; fecatetf wlBiin
thie United Stales or m any foreign C{wnt7 or tenitC7, or institutiofv. whether hekJ individuatty or jomBy. and whether held by you. yoir" •-
spouse, or any ofyourdependenls.whefd byoJhers for the bonefi! of you..,your spduse.orariy of your dependents. In addttion..|frovide
all documents fepue'sted lit'Item 24 with your comoleied Rnana'ai Statement.• .
                                                                        ASSETS
items. Cash, Bank, and Mortey Market Accounts
Lisi cash on hand (as opposed to cash m twnlt accounts or other firiarwial accounts) and ail bank accounts. money martcet accounts, or other financi^
accounts, irtdurfirg but not liiroted to ctiecking accounts, savings accounts, and ccrvficates of deposit The term 'cash on hand" mdudes but is not
imiled to cash in the form of currency, oncasfied checks, and money orders.                                                        .       1
   a. Amount of Cash on hiand S                                               Form of Cash oft Hand

   b. Name on Account                          Name & Address of Financial institution                                                      Currant Balance




Item 10. Publicly Traded Securities
List an publicly traded securities, including but not ttmiled to. stocks, stock options, corporate bonds, mutual funds, U.S governrnem secunlles {including
but riot limited to treasury bills and treasury notes), and slate and municipal bonds. Also list any U.S. savings bonds.
Owner of Security                                                                 issuer                       Type of Security        No. of Lktits Owned



Broker House. Address                                                             Broker Account No.


                                                                                  Current Fair kAarkel Value              Loan(s) Against Security
                                                                                 $                                       ?
Owner of Security                                                                 Issuer                       Type of iSecurity       No. of Units Owned


Broker House, Address                                                           , Broker Account No.

                                                                                  Current Fair Market Value               Loan{s) Against Seci^ty
                                                                                  S                                      %
Owner ol Security                                                                 Issuer                       Type Of Security        No. of Units Owned


Broker House, Address                                                             Broker Account No.


                                                                                  Current Fair Market Value              Loan(s) Against Security
                                                                                 $                                       S




                                                                                                                                           Initials:

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ltem=i1.-iN6n-PuBllc Business and Financial Interests <                                    -                       "           I' d.^
Llit^                   fliwnciBl Were^;IncludinS tat not Birttea;to any tntefost m a noo-ptAfic corporaljon; subchapto^ con»raBon. braleo-
Bflfinay                    or HtritecTpartnarahip. joint.vcntufa. safe (xopriotoc^/intWBlional business pmpcralkm.of pei^^ InywlUMflt
                                                  • •' ■ '
                                                         ■          ■"                                      ~                              ■

                                                    Type of Business or Financial                  Owner                Ownership       If Officer, Directar, Member
           Entit/s Natne & Address                 Interest (e.g., LLC. partnerstiip)        (e.g., self, spouse)          %               or Partner, Exact Title




Item 12. Amounts: Owed to You, Your Spouse, .or Your Dependents
Debtor's Name & Address                               Date pbtigation            Original Amount Owed           Nature of Obligation fif me result of a final court
                                                   Incurred (Month/Year)         9                              Judgrhent or settlement, provide court name
                                                             /                                                  and docket number)
                                                   Current Amount Owed           Payment Schedule
                                                   $                             9

Debtor's Telephone                                 Debtor's Relationship to You


Debtor's l^e & Address                                 Date Ot)tlg3tion              Original Amount Owed       Nature of Obligation (if the result cf a final court
                                                    Incurred (Month/Year)        9                              judgment or settlement, proylda court name
                                                              /                                                 and docket numtter)
                                                   Cument Amount Owed                Payment Schedule
                                                   $                                 $

Debtor's Telephone                                 Debtor's Relationship to You




Insurance (^mpan/s Name, Address, & Telephone No.                  Beneliclaiy                                      Policy No.                 Face Value
                                                                                                                                               $
                                                                   Insured                                          Loans Against PoScy        Sunender Value
                                                                                                                    $                          $

Insurance Company's Name, Address, & Telephone No.                 Beneficiary                                      Policy No.                 Face Value
                                                                                                                                               S
                                                                   Insured                                          Loans Against Pcficy       Surrender Value
                                                                                                                    9                          $


Item i4. Deferred Income TVirangements^^
Llst al dei^fcd jiicpme arTar^ements, including                              anniities, pensions plans, proftt-sharmg. plans, 40l(k) plans, IRAs. Keoghs.
otherrefeiemCTt ar^d^ts.              savlh^lplans (e.9.','"529Plans). •
Trustee or Administrator's Name. Address & Telephone No.                         Name on Account                                 Account No.



                                                                                 Dale EstatiSsired       Type of Ptan               Sutrertder Value before
                                                                                    /   /                                           Taxes and Penalties
                                                                                 (mm/dd^yyy)                                        9
 Trustee or Administrator's Name, Address & Telephone No.                        Name on Account                                 Account No.


                                                                                 Date Established         Type of Plan              Surrender Value before
                                                                                    /   /                                           Taxes and Penalties
                                                                                                                                    $



                                                                                                                                                   Initials:


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Itetn.15. Pefiding Insurance Payments,or Inheritances                                                                       '
■List any pendaig'tfisurance payments orinhentances.'owed loyou.
Type                                                                                                       Amount Expected      Date Expected (mmAid^yyy)
                                                                                                       $                          /        /

                                                                                                       S                           /       /

                                                                                                       $                          /        /

Item 16. Vehicles
List ^>car9. m^::rnotoncycles, t>oats. aitpl8nes, and ottier vehides.
Vehicle Type        Year           Registered Owner's Name            Purchase Price                       Original Loan Amount        Current Balance
                                                                      S                                     $                          S
Make                               Registration Slate & No.           Account/Loan No.                      Current Value              Monthly Paymeni
                                                                                                           $                           $
Model                              Address of Vetiicie's Location     Lender's Name and Address




Vehicle Type      Year             Re^stered (Owner's Name            Purchase Price                       Original Loan Amount        Current Balance
                                                                      $                                    $                           $
Make                               Registration State & No.           AccountA.oan No.                     Current Value               Monthly Payment
                                                                                                           $                           $
Model                              Address of Vetiicie's Location     Lender's Name and Address




Vehicte Type      Year             Registered Owner's Name            Purchase Price               Originat Lxian Amount           Current Balance
                                                                      $                            $                               S
Make                               Registration State & No.           Account/Loan No.             Currem Value                    Monthly Payment
                                                                                                   S                               $
Model                              Address of Vehicle's Location      Lerxler's Name and Address




Vehicle Typo      Year             Registered Owner's Name            Purchase Price               Origlrtal Loan Amount           Current Balance
                                                                      $                            S                               $
Make                               Registration State S No.           Account/Loan No.             Current Value                   Monthly Payment
                                                                                                   S                               $
Model                              Address of Vehicle's Location      Lender's Name and Address




Item 17. Other Personal Property
List aS'other personal property not tteted In Items 9-16 t>y category, whether held for personal use, investment orany other reason, tncludino but not
Kmit^ toicdns. stamps. artwoT k, gemstones; Jewelry. buUion. pttier.co^ctiblcs, copyrights, patents, and other inte^ual property.
   Property Category                                                                                                 Acguisilion Cost
                                     Name of Owner                             Property Location                                                    Current Value
 (e.g.. artwork, jewelry)

                                                                                                                     $                         S



                                                                                                                     S                         $



                                                                                                                    $                          S




                                                                                                                                                   Initials:

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Item 18. Real Property •
LIstal real pro^r^.intere^ffKlucSng anytaiid contrad)
Propeft/s Location                         Type of Property                      Name(s) on Title or Contract and Ownership Percentages



Acgtflsttion Date (mmAJdryyy^         Purchase Price                        Current Value                     Basis o( Valuation
  I    t                              $                                     $
Lender's Name and Address                                     Loan or Account No.                             Current Balance On First Mortgage or
                                                                                                              Contract
                                                                                                              $
                                                                                                              Monthly Payment
                                                                                                              $
Other Mortgage Loan(s)(desaSie)                                    Monthly Payment                            □ Rental Unit
                                                                   $
                                                                   Cunrent Balance                            Monthly Rent Received
                                                                   $                                          $
Property's Location                        Type of Property                      Namefs) on Title or Contract and Ownership Percentages



Ac(;uisition Date (mm/dd/Vyyy)        Purchase Price                        Cunent Value                       Basis Of Valuation
   /   /                              $                                     $
Lender's Name and Address                                     Loan or Account No.                              Current Balance On First Mortgage or
                                                                                                               Contract
                                                                                                               $
                                                                                                               Monthly Payment
                                                                                                               $
Other Mortgage Loan(s) (desaibe)                                   Monthly Payment                             □ Rental Unit
                                                                   S
                                                                   Current Balance                             Monthly Rent Received
                                                                   S                                           S

                                                                       LIABILITIES

itemTl9. Credit Cards
List eaS              eccobtl heid;by you. your.spouse, or-ywr dependents, pnd any other credit cards Oiat you, your spouse, or your dependents use,,
whei^rlssu^ by.aUnitedStetesorforeiffli tfctandal irtstituticin.       r         -                                        '         -
   Name of Credit Card (e.g., Visa.                Account No.                                Name(s) on Account                        Current Balance
 ■ MasterCard. Department Store)




Item iZO. Taxes Payable
List aB taxes; such as inccxne'laxes or real estate taxes, owed by ypUi ypw'sprwse, or your dependents.
                           Type of Tax                                               Amount Owed                               Year Incuired




                                                                                                                                            initials;


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 Item 21. Other Amounts Ow^ by You, Your Spouse, or Your Dependents                                                           ~
 List aH otner amounts, not leted elsewhers in this financial statement owed by you. your spouse, or your dependents.        - <     -
 Lender/Creditor's Name, Address, and Telephone No.         Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                           number)


                                                           Lender/Crecfitor's Relationship to You


 Date LiabSty Was Ircurred               Original Amount Owed                   Current Amount Owed                  Payment Schedule
    /   /
                                         $                                      $
(mm/dd/Vyyy)
 Lender/Creditor's Name, Address, and Telephone No.        Nature of Debt (if the result of a court judgment or selUement. provide court name and docket
                                                           number)


                                                           Lender/CredUoi's Relationship to You



 Date Liabiily Was Incurred              Oiiginal Amount Owed                   Current Amount Owed                 Payment Schedule
    /   /
                                         $                                      $
(mm/ddAwv)

                                                     OTHER FINANCIAL INFORMATION

 Item 22. Trusts and Escrows                                       ,     .'                         '
 List ell funds and other assets that are being held n trust or escrow by any person or entity for you, your spouse, or your dependents.'Include any legal -
 retainer being held on ycur tefialf by legal counsel. Also fist a!funds or other assets that are being held in trust or escriw by you. your spouse, or your .
.dcpendentSp'for any person or entity.                                           -
                                                    Date Estabilshed
  Tnistee or Escrow Agents Name S Address                                 Grantor             Beneficiaries               Present Market Value of Assets*
                                                     (mm/ddAiyw)
                                                       /   /                                                          $




                                                       /   /                                                          S




                                                       /   /                                                          $




'If the market value of any asset Is unknown, descnbe the asset and stale Its cost if you know it
 Itein 23. Transfers 6rAssets
 Liste^ person or enbty to whom you have transferred. In (he aggreg^e. more than:$5,00D in liirxls or other assets during the previous five years by
loan,;gifL/3ale.i(kcdher,ttaTisfer!(exdude:ordtnary'h)id n^ssary Iiving'andbusiness expenses paid to'unrelated third parties}. Fo'reach such person or
eriiity, sli^e the total amount transferr^ during that penod
                                                                                                          Transfer Date              Type ofTransfer
 Transferee's Name. Address, & Relationship           Property Transferred       Aggregate Value*
                                                                                                         (mm/dd^yyy)                (e.g.. Loan, Gift)
                                                                                 $                        /    /




                                                                                 $                        /   /




                                                                                 8                        /   /




*ir the market value of any asset is unknown, describe the asset and state its cost if you know it.


                                                                                                                                          Initials:

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Item 24,<tDocuinentRequests               . „           ~                                             .
Provide co^aa of the(bUowing;documents vnth'youi^ampleled Financial statement.                            '          -       .                     ,!
                 Federal lax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.
                Ail applications for bank loans or other extensions of credit {other than credit cards) that you. your spouse, or your
                dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.
item 9           For each bank account Isted in Item 9,all account statements for the past 3 years.
                 For each business entity listed in item 11, provide (including by causing to be generated from accounting records) the
Item 11          most recent balance sheet, tax retum, annual income statement, the most recent year-to-date income statement, and all
                 general ledger files from account records.
                 An appraisals that have been prepared for any property fisted in item 17, including appraisals done for insurance
Item 17          purposes. You may exclude any category of property where the total appraised value of all property in that category Is
                less than $2,(X)0.

Item 18          All appraisals that have been prepared for real property listed In Item 18.
Item 21          Documentation for at! debts listed in Item 21.
                 Ail executed documents for any trust or escrow listed in Item 22. Also provide any appraisals, Including insurance
Item 22
                 appraisals that have been done for any assets held by any such trust or In any such escrow.


item 25. ; Combined Balance Sheet for You,YourSpouse,>and Your Dependents -
Assets                                                                 Liabilities

Cash on Hand (Item 9)                                        s         Loans Against Publicly Traded Securities (Item 10)             $
Funds Held In Financial Institutions (Item 9)                $         Vehicles - Liens (Item 16)                                     S

U.S. Gcvernmenl Securities (Hem 10)                          $         Real Property - Erteumbrancss (Item 18)                        $
Pulilidy Traded Securities (item 10)                         $         Credit Cards(Item 19)                                          $

hton-Public Business and Financial Interests (Item 11)       $         Taxes Payable (item 20)                                        s
Amounts Owed to You (Item 12)                                $         Amounts Owed by You (Item 21)                                  s

Life Insurance Policies (Item 13)                            $         Other LlabiliUea (Itemize)
Deferred Income Arrangements (Item 14)                       s                                                                        $
Vehicles (item 16)                                           $                                                                        $
Other Personal Property (Item 17)                            s                                                                        $
Peat Property (Item 18)                                      $                                                                        $
Other Assets (ttemtze)                                                                                                                $

                                                             $                                                                        $
                                                             s                                                                        $
                                                             s                                                                        $
                                         Total Assets        s         Total Liabilities                                              $

Itetn 26.-Cpmbihed Current Monttly;Income and ^perises for Vou, Your,Spouse, and Your pependente                                                 . .v-
Prbvide the current monthly fncome arid expenses Itor.yw, your spouse, and your dependents. Do not inckide credit card payments separately, rather,
hdude credit card,expenditures kt the appropriate cai^ones. '
Income (State source of each item)                                 Expenses
Salary •After Taxes                                                 Mortgage or Rental Payments for Residence{s)
                                                         $                                                                                s
Source:
Fees. Commissions, and Royalties                                   Property Taxes for Res'idencefs)
                                                         $                                                                             $
Source:
Interest                                                           Rental Property Expenses, Including Mortgage Payments, Taxes,
                                                         %                                                                                5
Source;                                                            and Insurance
Dividends and Capital Gains                                        Car or Other Vehicte Lease or Loan Payments
                                                         s                                                                                $
Source:
Gross Rental Income                                                Food Expenses
                                                         s                                                                                s
Source;
Profits from Sole Proprietorships                                  Clothing Expenses
                                                         $                                                                             $
Source:
Distributions from Partnerships, S^oiporations.                     Utflities
and LLCs                                                 $                                                                                s
Source;


                                                                                                                                     Initials;


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                  bfnolj^CuTOnt^MpnlhiyjIncome,and -Exp«rt|Kifoj^^
Distributions from Trusts and Estates                               Medical Expenses, Inckiding Insurance
                                                       S                                                                                 S
Source:
Distributions from Deferred Income Arrangements                     Other Insurance Premiums
                                                       $                                                                                 S
Source:
Social Security Payments                               $            Other Transportation Expenses                                        S
ASmony/CNtd Support Received                           $            Other Expenses (Itemize]
Gambting Income                                        $                                                                                 $
Other Income (Itemize)                                                                                                                   $
                                                       $                                                                                 $
                                                       S                                                                                 $
                                                       $                                                                                 $

                                        Total Income   $            Total Expenses                                                       s




item 27. Documents Attached to this Financial Statement
List an doaiments that are being submitiedwtth this financial statement. For any ltem:24 documents that are not attached,<exp)3in why.

Item No. Document Relates To                                                           Description of Document




       I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court, i have used my best efforts to obtain the information requested in this statement The
responses I have provided to the items above are true and contain ali the requested facts and information of which I have
notice or knowledge. I have provided ail requested documents In my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001,18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). 1 certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.


Executed on:



(Date)                                                     Signature




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                     ATTACHMENT C
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                                          FEDERAL TRADE COMMISSION

                           FINANCIAL STATEMENT OF CORPOR.\TE DEFENDANT



Instructions:


1.      Complete all items. Enter "None" or "N/A"("Not Applicable") where appropriate. If you cannot fully answer a
        question, explain why.

2.      The font size within each field will adjust automatically as you type to accommodate longer responses.
3.      In completing this financial statement,"the corporation" refers not only to this corporation but also to each of its
        predecessors that are not named defendants in this action.
4.      When an Item asks for information about assets or liabilities "held by the corporation"include ALL such assets
        and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
        benefit of the corporation.

5.      Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
        being continued. On the continuation page(s), identify the Item number being continued.
6.      T>pe or print legibly.

7.      An officer of the corporation must sign and date the completed financial statement on the last page and initial
        each page in the space provided in the lower right corner.



Penalty for False Information:


Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:
        (1)"in any matter witliin the jurisdiction of any department or agency of the United States knowingly and
        willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
        fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
        same to contain any false, fictitious or fraudulent statement or entry"(18 U.S.C. § 1001);
        (2)"in any ...statement under penalty of pequry as permitted under section 1746 of title 28, United States Code,
         willfully subscribes as true any material matter which he does not believe to be true"(18 U.S.C. § 1621); or
        (3)"in any (...statement under penalty of perjury as permitted under section 1746 of title 28, United States
        Code)in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
        false material declaration or makes or uses any other information ...knowing the same to contain any false
        material declaration." (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of(i)$250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
 18U.S.C. §3571.
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                                           BACKGROUND INFORMATION



Item I.            General Inrormation

Corporation's Full Name

Primary Business Address                                                                            From (Date)

Telephone No.                                          Fax No.


 E-Mail Address                                  Internet Home Page_

All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

Address                                                                                From/Until

Address                                                                                FromAJntiJ
Address                                                                                From/Until

All predecessor companies for past five years:

Name & Address                                                                              From/Until

Name & Address                                                                              FromAJntil

Name & Address                                                                              From/Until



Item 2.            Legal Information

Federal Taxpayer ID No.                                    State & Date of Incorporation

State Tax ID No.                           State                       Profit or Not For Profit

Corporation's Present Status: Active                        Inactive                     Dissolved

If Dissolved: Date dissolved                                     By Whom

Reasons

Fiscal Year-End (Mo./Day)                          Corporation's Business Activities


Item 3.            Registered Agent

Name of Registered Agent

Address                                                                            Telephone No.




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ftem 4.            Principal Stockholders

List all persons and entities that own at least 5% of the corporation's stock.

                                            Name & Address                                                  %Owned




Item 5.            Board Members

List all members of the corporation's Board of Directors.

                                    Name & Address                                      %Owmed          Term fFrom/Untin




Item 6.            Offlcers

List all of the corporation's officers, including defacto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

                                             Name & Address                                                 % Owned




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Item 7.          Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.

                                  Name & Address                                        Business Activities        % Owned




State which of these businesses, if any, has ever transacted business with the corporation




Item 8.          Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation's principal stockholders, board
members, or officers (i.e., the individuals listed in IteiiK 4-6 above) have an ownership interest.

  Individual's Name                      Business Name & Address                         Business Activities        % Owned




State which of these businesses, if any, have ever transacted business with the corporation



Item 9.         Related Individuals

List all related individuals with whom the corporation has had any business transactions during die three previous fiscal
years and current fiscal year-to-date. A "related individual" is a spouse, sibling, parent, or child ofthe principal
stockholders, board members, and officers {i.e., the individuals listed in Items 4-6 above).

                          Name and Address                                   Relationship               Business Activities




                                                                                             Initials
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rtem 10.            Outside Accountants

List all outside accountants retained by the corporation during the last three years.

           Name                     Firm Name                                 Address                        CPA/PA?




Item 11.            Corporation's Recordkceping

List all individuals within the corporation with responsibility for keeping the corporation's financial books and records for
the last three years.

                                Name. Address. & Telephone Number                                      PoSitiPhf?) Held




Item 12.            Attorneys

List all attorneys retained by the corporation during the last three years.

            Name                       Firm Name                                        A<^tlres§.




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Item 13.        Pending Lawsuits Filed by the Corporation

List ali pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party's Name & Address
Court's Name & Address
Docket No.                        Relief Requested                           Nature of Lawsuit

                                              Status

Opposing Party's Name & Address

Court's Name & Address

Docket No.                       Relief Requested_                           Nature of Lawsuit

                                              Status

Opposing Party's Name & Address

Court's Name & Address

Docket No.                       Relief Requested_                           Nature of Lawsuit

                                             Status

Opposing Party's Name & Address

Court's Name & Address

Docket No.                       Relief Requested,                          Nature of Lawsuit

                                             Status

Opposing Party's Name & Address

Court's Name & Address

Docket No.                       ReliefRequcsted,                           Nature of Lawsuit

                                             Status

Opposing Party's Name & Address

Court's Name & Address

Docket No.                       Relief Requested,                          Nature of Lawsuit

                                             Status



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Item 14.         Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party's Name & Address

Court's Name & Address

Docket No.                        Relief Requested_                            Nature of Lawsuit

                                               Status

Opposing Party's Name & Address

Court's Name & Address

Docket No.                         Relief Requested_                           Nature of Lawsuit

                                               Status


Opposing Party's Name & Address

Court's Name & Address

Docket No.                         Relief Requested_                           Nature of Lawsuit

                                               Status


Opposing Party's Name & Address.

Court's Name & Address.

Docket No.                         Relief Requested_                           Nature of Lawsuit

                                               Status


Opposing Party's Name & Address

Court's Name & Address

Docket No.                         Relief Requested_                           Nature of Lawsuit

                                               Status

Opposmg Party's Name & Address

Court's Name & Address

Docket No.                         Relief Requested_                           Nature of Lawsuit

                                               Status



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Item 15.         Bankruptcy Information

List ail state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date                               Termination Date                        Docket No.

IfState Court: Court & County                                   If Federal Court: District

Disposition


Item 16.                 Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents ofeach box.

Owner's Name             Name & Address of Deoositorv Institution                                                  Box No.




                                                FINANCIAL INFORMATION


REMINDER: When an Item asks for information about assets or liabilities "held by the corporation," include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.

item 17.         Tax Returns


List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies ofaU returns.

  Federal/       Tax Year       Tax Due        Tax Paid     Tax Due        Tax Paid              Preoarer's Name
 State/Both                      Federal        Federal .    State           State




                            J              s            $              $

                            s              s            $              s




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Hem 18.          Financial Statements


List all financial siatemeiits that were prepared for the corporation's last three complete fiscal years and for the current
fiscal year-to-date. Attach copies ofall statements, providing audited statements ifavailable.

               alance Sheet        fit & Los.s Stat




Item 19.         FiaancUl Summary

For each of the last three complete fiscal years and for the current fiscal year-to-dnte for whicli the corporation has not
provided a profit and loss statement In accordance with Item 18 above, provide the following summary financial
information.




Item 20.         Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term "cash" includes currency and uncashed checks.

Cash on Hand S                                    Cash Held for the Corporation's Benefit $_

       e & Address of Financial Institution                                                 Account No.           Current
                                                                                                                  Balance
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Item 21.           Government Obtigations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer                                             Type ofSecurity/Obligation

No. of Units Owned                 Current Fair Market Value S                            Maturity Date

Issuer                                             Type of Security/Obligation

No. of Units Owned                 Current Fair Market Value S                            Maturity Date,


Item 22.           Real Estate


List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property                                             Property's Location

Namc(s) on Title and Ownership Percentages

Current Value $                             Loan or Account No.

Lender's Name and Address

Current Balance On First Mortgage S                         Monthly Payment $_

Other Loan(s)(describe)                                                              Current Balance $_

Monthly Payment $                            Rental Unit?                          Monthly Rent Received S_



Type of Property                                            Property's Location_

Name(s) on Title and Ownership Percentages

Current Value $                             Loan or Account No.

Lender's Name and Address

Current Balance On First Mortgage $                         Monthly Payment $_

Other Loan(s)(describe)                                                              Current Balance $_

Monthly Payment S                            Rental Unit?                          Monthly Rent Received $_




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Item 23.          Other Assets

List all other property, by category, with an estimated value of$2,300 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

           Property Calesorv                               Property Location                         Acquisition       Current
                                                                                                          Cost          Value




                                                                                                 $                 s

                                                                                                 s                 s

                                                                                                 s                 s

                                                                                                 s                 $

                                                                                                 s                 s

                                                                                                 s                 s

                                                                                                 s                 s

                                                                                                 $                 s



Item 24.          Trusts and Escrows


List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.

           Tntstee or Esctow Aaent's                      Description and Location of Assets                  Present Market
                Name & Address                                                                                Value of Assets


                                                                                                          $




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Item 25.         Monetary Judgments and Settlemen Is Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation,

Opposing Party's Name & Address

Court's Name & Address                                                                    Docket No.

Nature of Lawsu it                                     Date of Judgment_                      Amount S

Opposing Party's Name & Address_

Court's Name & Address                                                                    Docket No.

Nature of Lawsuit                                      Date of Judgment,                      Amount $




Item 26.         Monetary Judgments and Settlemen ts Owed By the Corporation

List all monetary Judgments and settlements, recorded and unrecorded, owed by the corporation

Opposing Party's Name & Address

Court's Name & Address                                                                    Docket No..

Nature of Lawsuit                                                  Date                   Amount $

Opposing Party's Name & Address,

Court's Name & Address                                                                    Dodcet No.

Nature of Lawsuit                                      Date ofJudgment,                      Amount S

Opposing Party's Name & Address,

Court's Name & Address                                                                   Docket No.

Nature of Lawsuit                                     Date ofJudgment,                       Amount $

Opposing Party's Name & Address,

Court's Name & Address                                                                   Docket No.

Nature of Lawsuit                                     Date ofJudgment,                       Amount S

Opposing Party's Name & Address,

Court's Name & Address                                                                   Docket No.

Nature of Lawsuit                                     Date of Judgment,                      Amount $




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Item 27.         Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency                                                               Contact Person

Address                                                                                    Telephone No.

Agreement Date                     Nature of Agreement


Item 28.         Credit Cards

List all ofthe corporation's credit cards and store charge accounts and the individuals authorized to use them.

           Name of Credit Card or Store                          Names of Authorized Users and Positions Held




Item 29.         Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 3 and 6 above), for the two previous
fiscd years and current fiscal year-to-date. ''Compensation" includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit shanng plans. "Other benefits" include,
but are not limited to, loans, loan payments, rent, car pa>'ments, and insurance premiumis, whether paid directly to the
individuals, or paid to others on their behalf.

           Name/Position              Current Fiscal        1 Year Ago       2 Years Ago            Compensation or
                                         Year-to-Date                                               Type of Benefits

                                     $                  $                $

                                    $                   $                $

                                    $                   $                $

                                    $                   $                S

                                    $                   $                s




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Item 30.          Compensation of Board Members and GfTlcers

List all compensation and other benefits received from the corporation by each person listed in Items S and 6,for the
current fiscal year-to-date and the two previous fiscal years. "Compensation" includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. "Other benefits"
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

            Name/Position                  Current Fiscal       1 Year Ago       2 Years Ago           Compensation or
                                           Year-to-Date                                                Tvoe of Benefits




                                       $                    s                s

                                       s                    s                s

                                       s                    $                s

                                       $                    $                $

                                       s                    s                s

                                       $                    s                s

                                       $                    $                s

Item 31.          Transfers of Assets Including Cash and Property

List all transfers of assets over $2,S00 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

 Transferee's Name. Address. & Relationship                 Property             Aeeregate     Transfer    Tvoe of Transfer
                                                          Transferred              Value        Date       fe.g.. Loan. Giftl




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Item 32.        Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.

 item No. Document       Description of Document
     Relates To




       I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. 1 have used my best efforts to obtain the infotmation requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. 1 have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621,and 18 U.S.C.§ 1623 {five years imprisonment
and/or fines). I certify under penalty of peijury under the laws of the United States that the foregoing is true and correct

Executed on;



(Date)                                            Signature



                                                  Corporate Position




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                    ATTACHMENT D
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Form   4506                                             Request for Copy of Tax Return
(July 2017)                                  'Do not sign this form unless ail applicable lines have been completed.                             0M8 No.iS4S-0429
                                                  •- Request may be rejected if the form Is Incomplete or illegible.
Oepaitncnt of the Tfoatury
intcnui Revenue Sttviet                       *- For more information about Form 4506. visit www.irs.goWform4506.

Tip. You may be able to get your tax return or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the return. The IRS can provide a Tax Return Transcript for many returns free of ch^e. The transcript
provides most of the line entries ffom the original tax return and usually contains the information that a third party (such as a mortgage company)
requires. See Form 4S06-T, Request for Transcript of Tax Return, or you can quicMy request transcripts by using our automated self-help service
tools. Ptease visit us at IRS.gov and dick on'Get a Tax Transcript...* or can 1-S00-S08-9948.

   la Name shown on tax return. If a joint return, enter the name shown first.                            lb First social security number on tax return.
                                                                                                             Individual taxpayer identification number,or
                                                                                                             employer identification number{see instructions)


   2a if a joint return, enter spouse's name shown on lax return.                                         2b Second social security number or Individual
                                                                                                             taxpayer identification number if joint tax return


   3 Current name,address(including apt., room,or suite no.), city, state,and ZIP code(sse instructions)



   4 Previous address shown on the last return filed if different from line 3(see kistructions}



   5 If the tax return Is to be mailed to a third party(such as a mortgage company),enter the third part/s name, address, and telephone                  number.



Caution: If the tax return Is being mailed to a third party, ensure that you have filled in iines6 and 7 before signing. Sign and d^e tho form once you
have flUed in these tines. Completing these steps helps to protect your privacy. Once the IRS diseases your tax return to the third patty Gsled on line
5, the IRS has no control over what the third party does with the information, if you would iSte to limit the third part/s authority to disctose your return
information, you can specify this limitation in your written agrsemant with the third party.
   6     Tax return requested. Form 1040, 1120, 941, etc. and afl attachments as otiginaOy submitted to the IRS, including Fctm(s) W-2,
         schedules, or amefided returns. Copies of Forms 1040, 1040A, and 1040Q are generally available for 7 years from fiEng l>efore tt^ are
         destroyed by law. Other returns may be available for a longer period of time. Enter only one return number. If you need more than one
         type of return, you must complete another Form 4506. •
         Note;If the copies must be certified for court or administrative proceedinos,check here                                                                     □
   7     Year or period requested. Enter ttte ending date of the year or period, using the mm/dd/yyyy format. If you are requesting moce than
         eight yaars or periods, you must attach another Forni 4506.




         Fee. There is a $50 fee for each return requested. Full payment must be Included with your request or it will
         be rejected. Make your check or money order payable to "United States Treasury." Enter your SSN, ITIN,
         or EIN and "Rmm4506 request" on your check or money order.
         Cost for each return
         Number of returns requested onKneT
         Total cost. Mult^ty Ene 8a by &ie Bb
   9     lfwec3nnotfindthetaxfetum,wewairefiindttiefee. If the refund should go to the Ihkd party listed on Bne 5. check here                    •   •   •   •   •   D
Caution: Do not sign this form unless afl appEc^le lines have been completed.
Signature of taxpayer(s). I decJare that I am either the taxpayer whose name b shown on line la or 2a. or a person autliorized to obtain the tax return
requested. If the request applies to a joint return, at least one spouse must sign, if signed by a corporate cfTicer, 1 percent or more shareholder, partner,
managing member, guanfiian, lax matters partner, executor, receiver, administrator, trustee, or patty other than the taxpayer, I ceitify that I have the authority to
execute Form 4506 on behalf of the taxpayer. Note; Ihb form must be received by IRS within 120 days of the signature date.
□ Signatory attests that he/she has read the attestation clause and upon so reading
  declares that he/she has the authority to sign the Form 4506. See instructions.                                              Phone number of taxpayer on line
                                                                                                                               1aor2a


Sign           Slgnaturu tio« InstrucUonj)                                                         Dale
Here          ^
               iitM (1 tn»   abov« is a corporation, paitnership. estate, or trust)

              ►                                                                                1
               Spouse's signature                                                                  Date

For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                      Cat. No. 417216                         Form 4506 J?ev. 7-2017)
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Form 4506 fftov.7-2017)                                                                                                                                             Pago 2

Seclian tefefcncM art to the Internal Revenue Code        Chart for all other returns                                Corporations. Generally,Form 4506can be
unless ethervvisa noted.                                                                                           signed by.(l)on oRtcer having legal authority to butd
                                                          if you lived in                                          the corporation.(2)any person designated by Ote
 Future Developments                                      or your business              MaD to:                    board ol directors or other governing body,or(3)
For the htlesl information about Form 4506 and it*        was in;                                                  any officer or employee on written request by any
instructions, go to ivww.iis.gov/R)nn4506                                                                          prtncipsl officer and attested to by the secretary or
                                                          Alabama,Alsska,                                          other officer. A bona fide shareholder of record
Information 3l»ut any recent developments affecting
Fonn 4506. Form 4506-T and Fomt 45C6T-EZ wBI be          Arizona, Arkansas,                                        owning 1 percent or mere of the outstanding stock
posted on Mat page.                                      CaUfbmia.Celotada,                                        of the coiporafion may submit e Form 4506 but must
                                                         Florida, Hawai,Idaho,                                     provide dKuaientaEon to support the requester's
                                                         Iowa, Kansas, Louisiana,                                  right to receive the infcnnati^
General Instructions
                                                         Minnesota. Mississippi,                                     Psrtnershlps. Generally, Form 4506 can be
Caution; Do not sign this form unless all appicable      Missouri, Montana,                                        signed by any person who was a member of Me
ines have been compleled                                 Nebraska, Nevada.                                         partnership during any part el Me tax period
Purpose of form. Uee Fonn 4506lo roguosl e copy          New Mexico,                                               requested on Gno 7.
                                                                                        Internal Revenue Service
of your lax return. You can also designato(on lino 5)    North Dakeia,                                               Alt others.See section ei03(e)if Me lexpayer has
                                                                                        RAlVSTeam
a ttnrd party to receive the tax return.                  Okiihoma,Oregon,              P.O. Box 9941              died, is ImolvenL is a dissolved eorpomtion,or if a
                                                         South Dakota, Texas,
How long will it leke? It mey take up to 75                                             Mail Slop 6734             tnjstee, guardian,executor,receiver,or
                                                          Utah, Wtshtn^n,               Ogden.UT84409              administrator is acting for Ma taxpayer.
calendar days for us to process your request.            Wyoming,a fareign
Tip. Use Form 4506-T. Request for Trsnscr^t of Tex       ctMintry, American                                        Note: If you are Heir atlaw. Next of kfat, er
Return,lo icquest tax rxlum transcripts, tax account     Samoa,Puerto Rico,                                        BerwSci^you must be atke to estatihh a material
information, W-2inhiRnalion,1099 iiifbrfflaban,          Guam,the                                                  interest in tte estate or Inrst
verification of nonlilng, and records of account.        Commonwealth of tho                                       Doeumenialicn. For enttties other than individuab.
                                                         Northern Mariana                                          you must attach Me authorization document For
Automated transcript request. You can quickly
                                                         Islands,the U.S. VArgin                                   example. Mis could be Me letter from the principal
request transcripis by using our autommed seif-help
                                                         Islands, or A.P.O. or                                     officer authorizing an employee of the corporation or
settee tools. Please visit us at IR$.gov and click on    F.P.O. address
*(3et a Tax Transcript...' orcall t-80Q-908-$946.                                                                  Me letters testamentary auMorizing an individual to
                                                                                                                   act for an estate.
Vyitere to file. Attach payment and mail Form 4506       ConneeticuL Oebwara,
to Iho address below(or the state you lived in, or the   District of Columbia,                                     Signature by a raprosentative. A representative
state your business was h,when ilut relum was            Georgia,ISnois,tni&na.                                    can sign Form 4506 for a taxpayer orily If Mis
filed. There are tare address charts; one for            Kentucky, Maine,                                          authority has been spoeiScaiy MIegaled to tho
individual returns Form 1040 series)stid one fer all     Maiyiand,                                                 representative on Form 2848,Sno 5. Fonn 2848
other returns.                                           Messachusetts,                 Inlemal Rcvanue Service
                                                                                                                   showing Me delagatiiMi must be ittactied to Form
                                                         Wictiigan, New                                            4506.
  tf you ate requesting a relum tor more than oim                                       RAlVSTeam
year or period and the chart below chews two             Hempshlte, New Jersey,         P.O. Box 145500
                                                         New York, Nonh                 Stop 2800 F                Privacy Act and Paperwork ITeduellon Act
dffsrenl addresses,tend your lequcsl to the
                                                         Carolna,                       Cindnitali, OH 45250       Notice. Wt ask fbr the Information on Mb farm to
address based on the address of your most recent
relum.                                                   Ohio,Pennsylvania,                                        eslabish your right to gain access to the requested
                                                         Rhode Island,South                                        reluin(s)under the Intemal Revenue Code. We need
Chart for individual returns                             Carofna,Tennessee,                                        this irifeimation to property identify Me return^)and
                                                         Vermont.Wgnia.Wbst                                        respond to your request. If you request a copy of a
(Form 1040 series)                                       Virginia, Wisconsin                                       tax return, sections 6103and 6109 require you lo
If you filed an                                                                                                    provide Mb infennstion. including your SSN or EIN.
                                                                                                                   to process your tequesL If you do net provide Mb
individual return              MaS to;
and lived in:                                   .        Specific Instructions                                     Infoimation, we may not be able to process your
                                                                                                                   request. PtovidSng fabe or fraudulenrmlbrmation
                                                         Line lb. Enter your employer identlflealien number        may subject you to penaltlts.
Atabams, Kentucky.
                                                         ^N)If you are requesting a copy of a business
Louisiana. Mitsiss^pi,                                   return. Otherwise,enter the lint toeal security              Routine uses of Mb informallon includo giving il to
Tennessee,Texas,a                                                                                                  the Department of Justice for civit and crimmal
foreign country,American
                                                         numtier ^SN)or your indhiidusl taxpayer
                              Internal Ravenue Service
                                                         klentilicaltan numtier DTtN)shown on the letuin. For      litigallon, and dlies,slates, the District of Columbia,
Samoa,Puerto Rieo.            RAlVSTeam                                                                            and U.S.commonweailhs and possessions for use
                                                         exemple,if you are requesting Fonn 1040 that
Cuam.the                      Stop67tSAUSC                                                                         in adminbtering Meir tax laws. Via may abo
Commomveallh of the           Ausfe.TX 73301
                                                         includes Schedule C(porm lOxOX enter your SSN.
                                                                                                                   dbclose Mb information to other countries under a
Rorthcm Mariana Islands,                                 Line 3. Enter your current address. If you use a P.O.     lax treaty,lo federal and slate agencies to enfsree
the U.S. Virgin Itltnds, or                              box, please include it on this tine 3                     federal nontax criminal taws,or to federal law
A.P.O. er F.P 0. tddrets                                 Line 4. Enter the address shown on the lasi return        enforcement and inlelSgsnce tgancies to comtnt
                                                         filed if difliereni from the address entered on line 3    terrorism.
Alaska, Arizona,
Arkansas, Caffomia,                                      Note; II the eddresses en lines 3 and 4 are different       You ore not requirod to provide Me information
Colotado, Hawaii,Idaho,                                  and you have not changed your address with the            requested on a form ttiat b subject to the Paperwork
ISnois, Inisana, Iowa,                                   IRS,file Form 8822, Change of Address. For a              Reducbon Act unless Me form dbplays a vafd 0MB
Kansas, Michigan,             bitemal Revenue Serviea    businoss address,fileFerm 8822-B, Change of               control numtier. Books or records relating to a form
Minnesota, Monltma.           RAlVSTeam                  Address or Responsible Party — Business.                  or tb bistruetioos must be retained as long as Mth
Nebraska, Nevada,New          Stop 37106                                                                           contcnb may become material in Me adminbtiation
                                                         Signature and date. Form 4506 must be signed and          of any Intemal Revenue taw Generafiy,tax returns
Menco,North Dakota,           Fiasno.CA 93883            dated by the taxpayer Uted on iine 1a or 2a.The
Oklahoma, Oregon,                                                                                                  and return infOnnatton are conlidenUal, as required
                                                         IRS must reeeive Form 4506 within 120 days of the         by section 6103.
South Dakota, Utah,                                      date signed by the taxpayer or it wil be rejected.
Washi^on, Wsconsln,                                      Ensure that all appScable fnesare completed tiefcre         The time needed lo compbte and file Form 4S06
Wyoming                                                  signing.                                                  win vary depending on indMdual eircumslances.The
                                                                                                                   estimated average time b; Learning about Me law
Conoeebcut,                                                             Yotf musf check Oio box it f/M             or the form, 10 mki.; preparing Iho form,16 rnin.:
Delaware, District of                                              j/gnafure areafo acknowledge you                and Copying,assembling,and sending the form
CokitRbia, Ftortda,                                                                                                to the IRS,20 min.
Georgia, Maine,
                                                                   ham Bnoulttohty to sign and request
Maryland,                                                          thekilbrmahon. 77)0 tbrmwiViiof be                If you have commenta concerning the accuracy of
                              lotenal Revenue Service                                                              these fime estimates or suggestions for maiung
Massachusetts,                                           preeessadandntumedfo you ifthe bos is
                              RAlVSTeam                                                                            Form 4506 simpler,we would be happy lo hear horn
Missouri, New                 Stop6705 P-6               unchecked.
Hampshire, New Jersey.                                                                                             you.You can write to;
                              Kansas Qty, MO               Individuals. Copies ofjointly filed lax returns may
New York, North                                                                                                      Inlemal Ravenue Seivica
                              64999                      bo lumishod to either spouse. Only one signature is
CatoSna, Ohio,                                                                                                       Tax Forms and Pubieations Division
Pennsylvania, Rhode
                                                         requked. Sign Form 4506 exactly as your name                1111 Consfitutlon Ave. NW,IR-6S28
                                                         appeared on the original return. If you changed your
Island, South Carolina,
                                                         name,ebo Sign your current name.
                                                                                                                     Washington.DC 20224.
Vermont,Virgnta, West
VSrgnia                                                                                                              Do notsend Me form lo this address. Instead,see
                                                                                                                   Hfiere fo ffie on thb page.
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                     ATTACHMENT E
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               CONSENT TO RELEASE FINANCIAL RECORDS




       I,                                  of                             ,(City,
State), do hereby direct any bank, saving and loan association, credit union,
depository institution, finance company,commercial lending company, credit card
processor, credit card processing entity, automated clearing house, network
transaction processor, bank debit processing entity, automated clearing house,
network transaction processor, bank debit processing entity, brokerage house,
escrow agent, money market or mutual fund, title company,commodity trading
company,trustee, or person that holds, controls, or maintains custody of assets,
wherever located, that are owned or controlled by me or at which there is an
account of any kind upon which I am authorized to draw, and its officers,
employees, and agents, to disclose all information and deliver copies ofall
documents of every nature in its possession or control which relate to the said
accounts to any attorney ofthe Federal Trade Commission,and to give evidence
relevant thereto, in the matter ofFTC v. Hite Media, et aL^ Civ. No.            ^now
pending in the United States District Court of Arizona, and this shall be irrevocable
authority for so doing.

       This direction is intended to apply to the laws of countries other than the
United States of America which restrict or prohibit disclosure of bank or other
financial information without the consent ofthe holder ofthe account, and shall be
construed as consent with respect hereto, and the same shall apply to any ofthe
accounts for which I may be a relevant principal.



Dated:                          Signature:

                                Printed Name;




                                                     I hereby-attost and certify on
                                                     that the foregoing docurnent'lsa full. trge-§ind correct
                                                     copy of:tli^3>rlglnal oh fllS'lnmy office yittlh my cus
                                                     tody.                             *       ^
                                                               CL6RK,tJ.Sy DISTRICT COUlTr
                                                             'district OF ARIZONA
                                                     by         Ss-.                          -— Deputy
